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EXECUTIVE SUMMARY

The Islamic Republic of Iran is a constitutional, theocratic republic in which Shia
Muslim clergy and political leaders vetted by the clergy dominate the key power
structures. Government legitimacy is based on the twin pillars of popular
sovereignty--albeit restricted--and the rule of the supreme leader of the Islamic
Revolution. The current supreme leader, Ayatollah Ali Khamenei, was chosen by
a directly elected body of religious leaders, the Assembly of Experts, in 1989.
Khamenei’s writ dominates the legislative, executive, and judicial branches of
government. He directly controls the armed forces and indirectly controls internal
security forces, the judiciary, and other key institutions. The legislative branch is
the popularly elected 290-seat Islamic Consultative Assembly, or Majlis. The
unelected 12-member Guardian Council reviews all legislation the Majlis passes to
ensure adherence to Islamic and constitutional principles; it also screens
presidential and Majlis candidates for eligibility. Mahmoud Ahmadinejad was
reelected president in June 2009 in a multiparty election that was generally
considered neither free nor fair. There were numerous instances in which elements
of the security forces acted independently of civilian control.

Demonstrations by opposition groups, university students, and others increased
during the first few months of the year, inspired in part by events of the Arab
Spring. In February hundreds of protesters throughout the country staged rallies to
show solidarity with protesters in Tunisia and Egypt. The government responded
harshly to protesters and critics, arresting, torturing, and prosecuting them for their
dissent. As part of its crackdown, the government increased its oppression of
media and the arts, arresting and imprisoning dozens of journalists, bloggers, poets,
actors, filmmakers, and artists throughout the year. The government’s suppression
and intimidation of voices of opposition continued at a rapid pace at year’s end.

The most egregious human rights problems were the government’s severe
limitations on citizens’ right to peacefully change their government through free
and fair elections, restrictions on civil liberties, and disregard for the sanctity of life
through the government’s use of arbitrary detention, torture, and deprivation of life
without due process. The government severely restricted freedoms of speech and
the press (including via the Internet), assembly, association, movement, and
religion. The government committed extrajudicial killings and executed persons
for criminal convictions as juveniles, on minor offenses, and after unfair trials,
sometimes in public or group executions. Security forces under the government’s
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control committed acts of politically motivated violence and repression, including
torture, beatings, and rape. The government administered severe officially
sanctioned punishments, including amputation and flogging. Security forces
arbitrarily arrested and detained individuals, often holding them incommunicado.

Other human rights abuses included acts of violence by vigilante groups with ties
to the government, such as the Basij militia. Prison conditions remained poor, and
several prisoners died during the year as a result. There were few examples of
judicial independence or fair public trials. Authorities held numerous political
prisoners and continued to crack down on women’s rights activists, ethnic minority
rights activists, student activists, religious minorities, and environmental activists.
The government severely restricted the right to privacy. Authorities denied
admission to or expelled hundreds of university students whose views were
deemed unacceptable by the regime; professors faced expulsion on similar
grounds. Official corruption and a lack of government transparency persisted.
Violence and legal and societal discrimination against women, children, ethnic and
religious minorities, and lesbian, gay, bisexual, and transgender (LGBT) persons
were extant. Incitement to anti-Semitism and trafficking in persons remained
problems. The government severely restricted workers’ rights and arrested
numerous union leaders as the number of protests increased during the year. Child
labor remained a serious problem.

Note: The United States does not have an embassy in Iran. This report draws
heavily on non-U.S. government sources.

Section 1. Respect for the Integrity of the Person, Including Freedom from:

a. Arbitrary or Unlawful Deprivation of Life

There were reports that the government and its agents committed multiple acts of
arbitrary or unlawful killings, including those caused by torture, denial of medical
treatment, and beatings (see also section 1.e., Political Prisoners and Detainees).
The government made only limited attempts to investigate cases, if at all. There
were several extrajudicial killings by government Basij forces surrounding the
February protests in support of the Arab Spring uprisings. Basij forces reportedly
killed protesters during rallies and while pursuing protesters after they had
dispersed.

On February 14, security forces killed two university students, Saneh Jaleh and
Mohammad Mokhtari, during a rally in Tehran to demonstrate solidarity with
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antigovernment protesters in Tunisia and Egypt. According to press reports, both
were shot by men on motorcycles, which friends indicated was a hallmark of the
Basij. Progovernment news sources contended that Jaleh and Mokhtari were both
members of the Basij and were killed by the terrorist group Mujahedin-e Khalq
(MEK). Friends and relatives of Jaleh and Mokhtari denied the accusations.

On March 15, Basij forces in Tehran shot and killed university student Behnoud
Ramezani. According to news reports and nongovernmental organizations
(NGOs), two initial forensic reports described the cause of death as “multiple
blows to the head by a hard object.” The final cause of death was announced as a
result of the “explosion of a hand grenade.” An eyewitness who provided his
account to the opposition news site Daneshjoo stated that Basij forces hit
Ramezani with an “electric shocker.” The witness reported that Ramezani’s neck
and hand were broken and his right thigh was crushed.

On August 25, the opposition Web site Roozonline published an interview with
Behrang Soudbakhsh, the son of Abdolreza Soudbakhsh, a doctor killed in 2009
after examining rape victims at Kahrizak Prison. This was the first time that the
family came forward about the killing due to fear of reprisals from authorities.
According to the son, the elder Soudbakhsh was under pressure to remain silent
about those who died under torture and was shot by men on a motorcycle as he left
his office. The son stated that authorities told his father to report that the victims
of Kahrizak had meningitis, even though he had concluded they died as a result of
torture. Behrang claimed his father was planning to leave the country the night of
his death and suggested he was killed to prevent him from revealing more
information. The elder Soudbakhsh had given an interview to Deutsche Welle’s
Persian network a few weeks before his death in which he mentioned the rapes. At
the time of his death, officials denied Soudbakhsh’s killing had anything to do with
his knowledge of events at Kahrizak.

There were developments in one case from a previous year. On February 6,
according to the online legal news site The Jurist, the government executed two
unidentified men convicted of torturing and killing three university students and
protesters--Amir Javadifar, Mohammed Kamrani, and Mohsen Rouhalamini--at
Kahrizak Prison in 2009. A criminal case against former Tehran prosecutor
general Saeed Mortazavi for his involvement was reportedly continuing at year’s
end, although Mortazavi announced on July 18 that he had effectively been
acquitted of all charges, explaining that the Civil Servants Court had decided not to
prosecute him. Legal claims filed against Mortazavi by the families of those killed
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also remained pending. During the year Mortazavi continued to serve as the head
of the governmental antismuggling task force.

According to the Iran Human Rights Documentation Center (IHRDC), the
government executed 659 persons during the year, many after trials that were
conducted in secret or did not adhere to basic principles of due process. Some
observers noted a figure as low as 277, while other credible NGOs reported the
number of executions, including those conducted in secret, was more than 700.
The UN special rapporteur for human rights in Iran noted in his October report that
at least 83 persons, including three political prisoners, were known to have been
executed in January alone. Human rights activists reported that the government
executed an average of two persons a day during the first six months of the year.
Authorities did not release statistics on the implementation of death sentences, the
names of those executed, or the crimes for which they were found guilty. Exiles
and human rights monitors alleged that many persons supposedly executed for
criminal offenses such as narcotics trafficking were actually political dissidents.
Executions for drug convictions constituted the majority of capital punishment
cases in the country. The law criminalizes dissent and also applies the death
penalty to offenses such as “attempts against the security of the state,” “outrage
against high-ranking officials,” “enmity towards god” (moharebeh), and “insults
against the memory of Imam Khomeini and against the supreme leader of the
Islamic Republic.”

While the law does not explicitly stipulate the death penalty for the offense of
apostasy, courts have administered such punishment based on their interpretation
of religious fatwas. In September 2010 a lower court convicted Christian pastor
Youcef Nadarkhani of “apostasy” and issued a death sentence. The case was under
Supreme Court review at year’s end. According to Philip Alston, the UN special
rapporteur on extrajudicial, summary, or arbitrary executions, moharebeh is
“imposed for a wide range of crimes, often fairly ill defined and generally having
some sort of political nature.” The October report of the UN secretary-general on
the human rights situation in the country stated that more than 20 persons charged
with moharebeh were executed during the year. In a June 22 interview with the
semiofficial Iranian Student News Agency (ISNA), Mashad prosecutor Mahmoud
Zoghi confirmed the “high number of unannounced executions” carried out in
Vakilabad between March and May.

On January 24, the government executed Kurdish political prisoners Jafar Kazemi,
an editor and publisher of academic books at Amir Kabir University and 2009
election protester, and Mohammad Ali Haj Aghaie, also an election protester, after
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they reportedly refused to give televised confessions on January 17 in Evin Prison.
The two were convicted of moharebeh for participating in the 2009 protests as well
as chanting slogans and distributing banners for the MEK. Authorities reportedly
did not inform Kazemi’s wife or lawyer prior to the execution. Authorities
reportedly tortured the prisoners physically and psychologically. Their
interrogators allegedly threatened to arrest his wife and children if they did not
confess. According to their lawyer, the government failed to provide access to the
case files during the trial. Aghaie was a long-standing political activist who had
been previously convicted for his participation in the 1980s government
opposition.

On January 29, authorities executed Zahra Bahrami, an Iranian-Dutch citizen.
Bahrami was hanged on reportedly trumped-up charges of drug smuggling after
being arrested during the 2009 Ashura protests. Bahrami was also charged with
moharebeh, “acting against national security,” and “propaganda against the
establishment,” but she was not tried on these charges. The government denied
Bahrami access to Dutch consular officials. According to the International
Campaign for Human Rights in Iran (ICHRI), her lawyer was not informed of the
execution until after it had occurred.

During the year the government practiced public executions and group executions.

Public hangings using cranes or off of overpasses in the presence of onlooking
crowds were common practice throughout the year. Amnesty International (AI)
reported that authorities acknowledged public executions of at least 28 persons
during the first six months of the year. The UN special rapporteur on human rights
in Iran noted the release of video footage of the public executions of three persons
convicted of kidnapping and rape in Azadi Square of Kermanshah on July 19.
Footage showed a large crowd in attendance, including children.

According to the ICHRI, authorities conducted group executions at several prisons
throughout the country, including Vakilabad, Birjand, Taybad, Karoon, Ghezel
Hessar, Urmiya, and Qom, among others. The ICHRI reported that officials at
Vakilabad Prison carried out group executions on at least 10 occasions, putting to
death at least 118 persons. All those executed had been charged with drug-related
crimes. According to ICHRI sources, group executions inside Vakilabad were
carried out by hanging in a roofless hallway leading to the prison’s visitation hall.
The executions were secret, without the knowledge or presence of the prisoners’
lawyers or families. Sources also stated that group death sentences of this nature
were usually issued at the end of unfair trials that often lasted only minutes.
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The government reportedly executed at least four persons for crimes committed
when they were minors. For example, on May 5, according to AI, the government
executed 16-year-old Hashem Hamidi, a member of the Ahvazi Arab minority,
along with four men in Karoun Prison in Ahvaz. Ahvazi Arab sources said the
men were arrested after participating in demonstrations on April 15, but the
charges against them were not known. Hamidi’s trial, in the absence of his lawyer,
reportedly took only 10 minutes. The UN secretary-general noted in his September
report that more than 100 juveniles were on death row in the country.

Adultery remained punishable by death by stoning, but there were no reported
executions by stoning during the year. The law provides that a victim of stoning is
allowed to go free if he or she escapes. It is much more difficult for women to
escape as they are buried to their necks whereas men are buried only to their
waists. According to AI, death sentences by stoning continued to be passed, but no
stonings were known to be carried out. AI reported that at least 15 prisoners,
mostly women, remained at risk of stoning.

Iranian forces regularly bombarded areas along the Iran-Iraq Kurdish border,
targeting purported terrorist activities. The Iranian shelling resulted in civilian
casualties. For example, on July 28, shelling near the town of Sidakan killed a 13-
year-old boy. State media rarely provided reporting or figures on the number
killed or injured.

b. Disappearance

There were reports of politically motivated abductions during the year.
Plainclothes officers or security officials often seized journalists and activists
without warning, and government officials refused to acknowledge the
disappearance or provide any information as to the fate or whereabouts of those
taken. In other cases authorities detained individuals incommunicado for several
days or longer before permitting them to contact family members (see section 1.d.).
Families of executed prisoners did not always receive notification of their deaths
(see section 1.a.).

On June 29, according to a Human Rights Activists News Agency (HRANA)
report, Green Movement activist Mohsen Kashefzadeh Saraie disappeared.
Intelligence Ministry officials reportedly summoned Kashefzadeh over the phone
for questioning two days prior to his disappearance. He did not turn himself in as
requested and disappeared two days later. Authorities refused to disclose any
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information on Kashefzadeh’s whereabouts, despite requests from his family, and
at year’s end his fate was unknown.

On July 31, according to Human Rights Watch (HRW), plainclothes security
forces arrested prominent rights activist and blogger Kouhyar Goudarzi, along with
his friends Behnam Ganji and Nahal Sahabi, at Ganji’s home. Authorities
reportedly took Goudarzi to an undisclosed location and later transferred him to
Evin Prison, where his friends were being held, but refused to acknowledge his
arrest or detention. Friends and family requested information from the Tehran
Prosecutor’s Office but were told there was no file regarding Goudarzi’s case.
Ganji and Sahabi were released four weeks after their arrest and shared the details
of their arrest and detention with their families and in an interview with the ICHRI.
Both committed suicide shortly after their release, reportedly due to the trauma
they suffered in detention. Security forces had arrested Goudarzi several times
since 2006. In June 2010 Branch 26 of the Revolutionary Court convicted him of
“propaganda against the regime” and other security-related offenses, sentencing
him to one year in prison, which he completed. Despite this, Goudarzi remained in
prison at year’s end.

There were a few developments in cases from previous years.

On September 5, according to AI, authorities reportedly released Sourena
Hashemi, who had been arrested with Alireza Firouzi for their role in exposing the
sexual abuse of a fellow student at Zanjan University in 2008. Their January 2010
arrest was not officially acknowledged for more than six weeks. Firouzi reportedly
remained in prison at year’s end.

On September 13, authorities reportedly released Fayzolah Arabsorki, a former
deputy minister of commerce, from prison. According to the opposition Web site
Kaleme.com, prison authorities presented him with release papers and then
summoned him back to prison four days later to complete his sentence.

In 2009 unidentified persons arrested Arabsorki, a member of the central body of
the reformist Islamic Revolution Mujahedin Organization, without presenting a
warrant or identifying themselves as police. Arabsorki reappeared in 2010 at Evin
Prison. On May 26, he and 25 other prominent political prisoners wrote a letter to
the chairman of the governmental Central Board for the Sound Implementation of
the Law Regarding the Respect for Contingent Freedoms and Protecting Citizen
Rights. The letter called for an investigation into the human rights abuses they and
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other prisoners had endured in prison. The government initiated no known
investigation.

c. Torture and Other Cruel, Inhuman, or Degrading Treatment or
Punishment

The constitution and law prohibit torture, but there were numerous credible reports
that security forces and prison personnel tortured and abused detainees and
prisoners. There were no credible reports of government investigations into
reports of torture or cruel, inhuman, or degrading treatment or punishment. The
government repeatedly defended its use of flogging and amputation as
“punishment,” not torture. On March 1, the UN special rapporteur on torture and
other cruel, inhuman, or degrading treatment or punishment noted with concern the
various commonly applied methods of mistreatment, including beatings, stress
positions, the denial of medical attention, and prolonged solitary confinement. He
noted that such mistreatment affected mainly human rights defenders, journalists,
social activists, political activists, religious groups, and individuals associated with
various minority groups, including members of the LGBT community. On
October 18, members of the UN Human Rights Council (UNHRC) criticized the
government for the use of inhuman punishments such as flogging.

Common methods of torture and abuse in prisons included prolonged solitary
confinement with extreme sensory deprivation (sometimes called “white torture”),
beatings, rape and sexual humiliation, long confinement in contorted positions,
kicking detainees with military boots, hanging detainees by the arms and legs,
threats of execution, burning with cigarettes, being forced to eat feces, pulling out
toenails, sleep deprivation, and severe and repeated beatings with cables or other
instruments on the back and on the soles of the feet. To intensify abuse
perpetrators reportedly soaked prisoners before beating them with electric cables,
and there were some reports of electric shocks to sexual organs. Prisoners also
reported beatings on the ears, inducing partial or complete deafness; blows in the
area around the eyes, leading to partial or complete blindness; and the use of
poison to induce illness. There were increasing reports of severe overcrowding in
many prisons and repeated denials of medical care for prisoners.

Some prison facilities, including Evin Prison in Tehran, were notorious for cruel
and prolonged torture of political opponents of the government. Authorities also
maintained unofficial secret prisons and detention centers outside the national
prison system where abuse reportedly occurred. The government reportedly used
“white torture” especially on political prisoners, often in detention centers outside
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the control of prison authorities, including Section 209 of Evin Prison, which was
reportedly under the control of the intelligence services, according to news sources.

On September 3, according to AI and the UN special rapporteur for human rights
in Iran, plainclothes officers arrested activist, journalist, and member of the Azeri
minority, Faranak Farid, while she was shopping in the northwestern city of
Tabriz, beating her so severely that she temporarily lost hearing in one ear and lost
the ability to move one of her arms. Farid, a member of the One Million
Signatures campaign (see section 6, Women), had most recently been involved in
environmental protests. After beating and interrogating her, authorities allegedly
forced her to sign a confession that she could not read because they had taken away
her glasses. At year’s end she remained detained in the Tabriz Central Prison,
facing charges of “insulting the supreme leader,” “propaganda against the regime,”
and “acting against national security.” As of September 15, according to AI and
the special rapporteur, Farid’s requests to see a physician had not been met, and
she had been allowed to meet only once with a visitor, her sister, for 45 minutes.

During the year there were several reports of government agents facilitating or
encouraging the rape of prisoners and detainees. On June 24, based on letters
smuggled from prison and information on Kaleme.com, The Guardian published
an article detailing the extent of sexual abuse in the prison system. According to
the letters, prison guards distributed condoms to incarcerated criminals to
encourage systematic rape of opposition prisoners. Mehdi Mahmoudian, an
outspoken member of Iran’s Participation Front, a reformist political party, wrote,
“[R]ape has become a common act and acceptable.” An unnamed family member
reportedly stated, “Criminals are repeatedly seen with condoms in hand, hunting
for their victims.”

On June 10, the IHRDC released a report entitled Surviving Rape in Iran’s Prisons,
which provided witness statements from five former prisoners, two women and
three men, who suffered rape and other sexual abuse during incarceration in
previous years. At least three of the rape victims were politically active, and four
were raped by prison guards. In a May 30 interview with IHRDC, a man named
“Sorrour” discussed his arrest and rape by prison guards, allegedly in retaliation for
fighting with his father, a member of the Basij. Sorrour left the country in 2009.

There were a few developments in cases from previous years.

On May 8, authorities released Kayhan columnist, blogger, and documentary
filmmaker Mohammad Nourizad, who had been detained in 2009 and reportedly
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beaten in May 2010, causing what the prison physician classified as a serious head
injury that affected his eyesight.

On July 26, Evin Prison authorities added a year to Mohammed Davari’s five-year
sentence. In 2010, according to various sources, authorities tortured and abused
Davari, who served as presidential candidate Mehdi Karroubi’s chief of staff and
editor in chief of the Saham News Web site, to force him to cast doubt publicly on
Karroubi’s 2009 claim that postelection prisoners had been raped. Davari won the
International Press Freedom award from the Committee to Protect Journalists
(CPJ) for his work exposing abuse and rape in the now-closed Kahrizak Prison.
Relatives told the ICHRI that Davari’s health was deteriorating in prison and that
he was suffering from severe depression.

On March 18, Ebrahim Mehtari reported that two men, one of whom was Iranian,
accosted him outside his home in Paris, tying a rope around his neck and stabbing
him several times. Exactly one year prior, Mehtari participated in a UN panel to
relate the abuse and torture, including sodomy, he endured during his 2009
detention in Iran.

Some judicially sanctioned corporal punishment constituted cruel and inhuman
punishment, including amputation for multiple-theft offenses, and
lashings/floggings. On March 16, in connection with an amputation case in the
province of Khurasan, the deputy judiciary head stressed that the amputation of
limbs is part of the punishment to be meted out to particular offenders. On June 1,
Mohammad Javad Larijani, secretary general of the governmental High Council
for Human Rights, was quoted by the ISNA as stating that flogging was not torture
but rather a punishment and penalty.

On December 11, the Fars Province public relations office reported that the Fars
Province Courthouse carried out a foot amputation ruling (Hadd) on
Mohammadhossein Q., convicted of armed robbery. His hand had been amputated
for the same crime in 2007; however, the foot amputation was delayed for
unknown reasons.

On October 9, according to online opposition news outlet Rah-e Sabz, a masked
prison guard reportedly carried out a sentence of 74 lashes against journalist and
student activist Peyman Aref for writing an “insulting” letter to President
Ahmadinejad. The lashing was conducted as a Hadd flogging, which is the harsher
type of flogging reserved for the most serious crimes, and it produced serious
injuries. In the letter Aref protested the “penalty point” system for politically
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active university students (see section 2.a., Academic Freedom and Cultural
Events), under which his education was curtailed. Aref’s March 2010 sentence for
“propaganda against the regime” also included one year in prison, which he
completed, and a lifetime ban on journalism and political party membership.

Prison and Detention Center Conditions

Prison conditions were harsh and life threatening. Prisoners committed suicide as
a result of the harsh conditions, solitary confinement, and torture to which they
were subjected. Prison authorities often refused medical treatment for injuries
prisoners suffered at the hands of their torturers and from the poor sanitary
conditions of prison life. Hunger strikes in protest of their treatment were
common. Prisoners and their families often wrote letters to authorities, and in
some cases to UN bodies, to highlight and protest their treatment. As a result of
the letters, prison officials often beat prisoners and revoked their visitation and
telephone privileges.

In a July 13 letter, imprisoned journalist Issa Saharkhiz accused authorities of
using harsh prison conditions to slowly kill political prisoners (see section 1.e.,
Political Prisoners). There were reports of prison guards and other inmates
brutalizing and raping prisoners, especially political prisoners, with impunity (see
also section 1.c., Torture and Other Cruel, Inhuman, or Degrading Tratment or
Punishment). In a May 9 letter, Mehdi Mahmoudian, convicted for “collusion
against the government” after participation in the 2009 protests, wrote that rape of
young men in Rejai Shahr Prison was “an accepted and common everyday matter”
completely ignored by prison officials. Authorities transferred Mahmoudian to
solitary confinement without explanation on June 8. Prisoners were frequently
subjected to harassment and discrimination. Many prisoners were held in solitary
confinement or were denied adequate food or medical care as a way to force
confessions.

Overcrowding was a significant problem, forcing many prisoners to sleep on the
floor, in the hallways, and even outside in the prison yard. There were reports of
food being tampered with to create stomach illness among the prisoners. There
were frequent water shortages and sanitation problems. Prisoners were severely
restricted in their access to fresh air and often were granted permission to go
outside only during the hottest or coldest times of the day. There were reports of
officials sending prisoners outside without clothes for prolonged periods of time.
Ventilation in the prison was lacking, with the stench of poor sanitation and water
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facilities permeating the cells. Prisoners were often subjected to sensory
deprivation, with either 24-hour light or complete darkness.

On March 15, according to various NGOs, at least nine and as many as 150
prisoners were killed in clashes between prisoners and prison guards at the
overcrowded Qezel Heser Prison outside Tehran. At the same time, the head of the
prison system, Gholamhossein Esmaili, said a judicial investigation had been
opened; however, no reports had been released by year’s end. Prison authorities
stated that the riot began when death row inmates and drug traffickers committed
arson and attacked guards in an attempt to escape. However, human rights
advocates told AI that the prisoners were protesting poor conditions and attempts
to transfer some inmates for execution. On March 16, state media reported that 14
persons had died, including at least nine prisoners, and 33 had been injured. On
March 19, HRANA reported that telephone privileges for prisoners had been cut
off until further notice.

On July 15, according to human rights and democracy advocacy groups, Sahar
Hadadi committed suicide to protest conditions and brutal mistreatment of women
in Gohardasht Prison in the city of Ray. Prison guards reportedly regularly used
electric batons and chokers to abuse female prisoners. Hadadi was incarcerated for
unknown reasons.

In a July 10 interview on Radio Farda, Ali Tabarzadi, son of prominent political
activist Heshmatollah Tabarzadi, stated that Rejai Shahr prison authorities were not
providing adequate medical care for his father. The senior Tabarzadi had been
transferred to the prison infirmary because of his heart disease but needed to seek
treatment outside prison. Heshmatollah Tabarzadi, head of the banned opposition
party Iran Democratic Front, was detained by Intelligence Ministry officials in
Tehran after the 2009 Ashura protests and sentenced to eight years’ imprisonment.
He had not been allowed to leave prison since his arrest.

On March 3, reformist news outlet Radio Zamaneh reported that prisons head
Esmaili told a gathering of prosecutors that the total prison population was 220,000
inmates, which included 70,000 prisoners awaiting sentencing. The official
capacity of the prison system is approximately 85,000. Esmaili also reportedly
stated that the number of prisoners in the country had risen by 55,000 since he
became head of prisons 18 months earlier. In September he stated that the
escalating number of prisoners was causing a crisis, with regular two-month
budget shortfalls being common. On April 30, Younes Mousavi, a member of the
parliament’s judicial commission, stated that prisons were so overcrowded that
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some prisoners were obliged to sleep in stairways. Mousavi also stated that the
annual budget of the Prisons Organization did not cover the cost of food and
clothing for prisoners.

On April 8, the ICHRI published an open letter from Seyed Hashem Khastar, a
retired teacher and prisoner of conscience, to the judiciary head and the
intelligence minister, detailing conditions inside Mashad’s Vakilabad Prison.
Khastar wrote that his ward held more than 700 prisoners, four times its capacity,
and there were as many as 60 individuals in the room where he slept although its
official capacity was 15. Khastar was released September 11 on 1.1 million toman
($1,100) bail.

During the year many prisoners, especially political prisoners, went on hunger
strikes to protest prison conditions. The health of some prisoners on hunger strikes
deteriorated quickly, but authorities did not respond quickly with medical help.

On June 20, the ICHRI reported that prison authorities allowed Hangameh Shahidi
medical leave for the first time in eight months (see section 2.a.).

There were reports of juvenile offenders detained with adult offenders. Pretrial
detainees occasionally were held with convicted prisoners. Political prisoners were
often held in separate prisons or wards--such as Evin Prison, especially wards 2A,
209, 240, and 350, and ward eight of Gohardasht Prison, known as the Islamic
Republic Guard Corps (IRGC) ward--or in isolation for long periods of time.
Human rights activists and international media also reported cases of political
prisoners confined with violent felons and drug dealers.

On July 21, the opposition news site Jaras reported that a new system for obtaining
furloughs had been posted on the walls of all the country’s prisons. According to
the system, prison authorities would allocate points based on good conduct. For
example, “cooperating in establishing order or preventing violations” merited 20
points every month and “participating in Friday prayers and other religious
ceremonies” earned a prisoner 30 points per month. Most prisoners required 1,000
points to obtain a furlough, but male prisoners over age 60, women over age 55,
women who head households, women who have children under 10, and all
veterans required only 150 points. Jaras noted that a number of political prisoners
had yet to enjoy even one furlough, even though they belonged to the group that
required only 150 points.
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Prison conditions for women were generally at least as poor as those for men. On
May 10, Radio Farda reported that the families of female prisoners transferred to
Gharchak Prison south of Tehran had written to the head of the Islamic Human
Rights Commission, Mohammad Hassan Ziaeefar, asking him to immediately
address the prison’s “intolerable conditions.” In a letter published on the Kaleme
Web site, the families stated the lives of 600 female prisoners were at risk. The
prisoners reportedly lived in a hall without beds or access to basic washing
facilities and sanitation, and prison authorities beat them when they protested their
conditions.

The government did not permit independent monitoring of prison conditions by
any outside groups, including UN groups or special rapporteurs. Prisoners
generally had access to weekly visitors, but this privilege was often revoked, along
with telephone and other correspondence privileges. According to former prisoner
accounts, prison officials often returned unsent letters to prisoners months after
they thought they were sent to their families. Prisoners were able to submit
complaints to judicial authorities, but often with censorship and retribution for
doing so. Authorities did not initiate credible investigations into allegations of
inhuman conditions. There was no information on whether the penal system
employed prison ombudspersons and no indication that any steps were taken to
improve recordkeeping or use alternative sentencing for nonviolent offenders. To
the contrary, the authorities utilized secret detention facilities, frequently held
prisoners incommunicado, and mixed violent and nonviolent offender populations.

d. Arbitrary Arrest or Detention

Although the constitution prohibits arbitrary arrest and detention, these practices
continued during the year.

Role of the Police and Security Apparatus

Several agencies share responsibility for law enforcement and maintaining order,
including the Ministry of Intelligence and Security, Law Enforcement Forces under
the Interior Ministry, and IRGC. The Basij and informal groups known as the
Ansar-e Hizballah (Helpers of the Party of God) were aligned with extreme
conservative members of the leadership and acted as vigilantes. However, the
Basij also served in the IRGC ground forces. While some Basij units received
formal training, many units were disorganized and undisciplined. During
government-led crackdowns on demonstrations, the Basij were primarily
responsible for the violence against the protesters.
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The security forces were not considered fully effective in combating crime, and
corruption and impunity were problems. Regular and paramilitary security forces
such as the Basij committed numerous serious human rights abuses, but there were
no transparent mechanisms to investigate security force abuses and no reports of
government actions to reform the abusers.

Arrest Procedures and Treatment While in Detention

The constitution and penal code require a warrant or subpoena for an arrest and
state that an arrested person must be informed of charges within 24 hours.
Authorities rarely followed these procedures in practice. Authorities held
detainees, at times incommunicado, often for weeks or months without charge or
trial, frequently denying them prompt contact with family or timely access to legal
representation. In practice there was neither a time limit for detention nor judicial
means to determine the legality of the detention. According to the law, the state is
obligated to provide indigent defendants with attorneys only for certain types of
crimes. The courts set prohibitively high bail, even for lesser crimes, and in many
cases courts did not set bail. Authorities often compelled detainees and their
families to submit property deeds to post bail. Prisoners released on bail did not
always know how long their property would be retained or when their trials would
be held, which effectively silenced them for fear of losing their families’ property.

The intelligence arm of the IRGC reportedly conducted arrests during the year,
sometimes without a warrant. In addition, security forces executed general
warrants to arrest protesters or those perceived as opponents of the government.
The use of these general warrants precluded the need for individual warrants.

Incommunicado arrest and detention was a common practice. For example, Farzad
Madadzadeh was reportedly held incommunicado during the year, and Kouhyar
Goudarzi has been held incommunicado since July 31 (see sections 1.a. and 1.e.).

In an October 11 interview with the ICHRI, the wife of imprisoned journalist and
member of the Iran Freedom Movement Ali Akrami stated she had no information
on his whereabouts since his October 6 arrest (see section 2.a.). According to press
reports, Akrami was later released on bail on October 29, although he had been
incommunicado during his entire three-week detention.

The government reportedly put individuals under house arrest without due process
to restrict their movement and communication. In mid-February authorities
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suddenly moved former presidential candidates Mehdi Karroubi and Mir Hossein
Mousavi and their wives, Fatemeh Karroubi and Zahra Rahnavard, respectively, to
an undisclosed location and held them incommunicado for several weeks. They
had been under de facto house arrest since 2010, and all but Fatemeh Karroubi
remained so at year’s end, apparently in response to their calls for protests in
solidarity with prodemocracy activists. According to the September report by the
UN special rapporteur on human rights in Iran, the Mousavis were unable to
communicate freely with family or friends, as authorities had destroyed or
removed all communication devices from the Mousavis’ home. The Karroubis
reportedly faced similar conditions, and authorities also had removed the
Karroubis’ television and books. Mehdi Karroubi was reportedly allowed to go
outside of his home only once, for 10 minutes. Radio Zamaneh reported
November 10 that Karroubi had been moved to “a more appropriate location.”
Karroubi’s son said Intelligence Ministry officials were also living in Karroubi’s
new apartment and that authorities were refusing to allow Karroubi’s wife to stay
with her husband. Domestic media reported that security officials raided
Mousavi’s office twice during the week of November 6, confiscating books,
computers, and personal items. The special rapporteur also noted that members of
both families had been harassed, intimidated, and/or briefly detained.

Arbitrary Arrest: Arbitrary arrest was a common practice and was used by
authorities to spread fear and deter activities deemed against the regime. Often
plainclothes officers arrived unannounced at homes or offices and conducted raids
without warrants or other assurances of due process, confiscating private
documents, passports, computers, electronic media, and other personal items and
arresting individuals. Once in detention centers, individuals languished for
extended periods without charges or trials and in many circumstances were delayed
in communicating their whereabouts to their families. Denial of legal access
during this time was common, as was the imposition of travel bans if and when the
individuals were released. The September 15 UN secretary-general’s report on the
situation of human rights in the country noted with concern the use of solitary
confinement, lack of access to lawyers, and use in court of confessions made under
duress in pretrial detention.

On January 30, authorities at Tehran Airport detained Omid Kokabi, a postdoctoral
student studying nuclear physics in the United States. Kokabi, a Sunni and
member of the Turkmen ethnic minority, was accused of acting against national
security through contacts with a “hostile country” and illegitimate earnings based
on his scholarship. On July 10, according to media sources, he wrote a letter to the
head of the judiciary protesting his arrest, the 36 days he spent in solitary
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confinement, and having been forced to make false confessions. Kokabi reportedly
was not granted access to his lawyer at any time during his imprisonment.
According to Reuters, his lawyer said the trial began on October 4. There was no
further information at year’s end.

On February 9, plainclothes police arrested Taghi Rahmani, a writer, journalist,
human rights defender, and husband of imprisoned human rights activist Narges
Mohammadi (see section 5), five days ahead of a planned antiregime
demonstration. According to the Observatory for the Protection of Human Rights
Defenders, individuals entered Rahmani’s apartment without showing
identification cards or an arrest warrant, searched his residence, and confiscated
documents. Rahmani was released on May 15 after posting bail of 150 million
toman (approximately $150,000). On September 21, authorities imposed a travel
ban on Rahmani, preventing him from leaving the country.

There were a few developments in cases from previous years. On April 17, Branch
26 of Tehran’s Revolutionary Court sentenced journalist Nazanin Khosravani to
six years in prison for “assembly and colluding to act against national security” and
“propaganda against the regime.” Khosravani was arrested in November 2010. In
mid-March, according to Kaleme.com, she had secured bail of 6.5 million toman
($6,500). According to the Web site, her lawyer stated that they would appeal the
sentencing; there was no update on the appeal at year’s end.

In December 2010, in return for bail of 800 million toman ($800,000), authorities
released former government spokesman Abdollah Ramezanzadeh early from his
six-year sentence for “acting against national security.” In 2009 police arrested
and seriously beat Ramezanzadeh following a letter he cowrote to the head of the
judiciary calling for the prosecution of IRGC officials for their role in the 2009
election and its aftermath. However, on February 26, the Green Voice of Freedom
Web site reported that Ramezandadeh was rearrested following a scuffle with
security forces, and at year’s end he reportedly remained in ward 350 of Evin
Prison.

On August 20, a revolutionary court sentenced two of the three U.S. citizen hikers
arrested by border guards on the Iran-Iraq border in 2009 to eight years in prison
for espionage and entering the country illegally. However, on September 21,
authorities released the two on 500 million toman ($500,000) bail each, the same
as the third hiker who was released in September 2010. On September 27,
authorities detained the hikers’ lawyer, Masoud Shafii, at the airport, confiscated
his passport, and prevented him from travel. Judiciary officials questioned him for
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several hours about the American hikers and released him the following day
without filing any charges. The government banned Shafii from travelling abroad.

At year’s end Arash and Kamiar Alaei, physicians specializing in the prevention
and treatment of HIV/AIDS who were found guilty in 2009 of “cooperating with
an enemy government” and sentenced to five years’ imprisonment, had left the
country. Kamiar was conditionally released after spending two and one-half years
in prison, while Arash was granted final release after more than three years in
prison. Officials delayed the release of both.

Pretrial Detention: Pretrial detention was often arbitrarily lengthy, particularly in
cases involving alleged violations of national security laws. Approximately 25
percent of prisoners held in state prison facilities were reportedly pretrial detainees.
According to HRW, a judge may prolong detention at his discretion, and pretrial
detention often lasted for months. Often pretrial detainees were held in custody
with the general prison population.

On November 4, the UNHRC expressed concern at the length of pretrial detentions
and the absence in the law of a pretrial detention time limit. The UNHRC also
expressed concern that pretrial detainees are often held incommunicado in
unacknowledged detention centers.

Amnesty: While the government at times released prisoners early or suspended
their sentences, there were no known amnesties granted during the year to any
prisoners, including political prisoners.

e. Denial of Fair Public Trial

The constitution provides that the judiciary be “an independent power;” but in
practice the court system was corrupt and subject to political influence. According
to the constitution, the head of the judiciary is a cleric chosen by the supreme
leader. The head of the Supreme Court and prosecutor general also must be
clerics. The head of the judiciary chose revolutionary court judges in part due to
their ideological commitment to the system. On November 4, the UNHRC
expressed concern about the lack of judicial independence, stating that the
judiciary was compromised by undue pressure from the executive branch,
including the Office for Supervision and Evaluation of Judges as well as senior
clerics and high-ranking government officials. Authorities generally respected
court orders, although they also acted extrajudicially at times, especially
concerning arrests, searches, and seizures.
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Trial Procedures

According to the constitution and criminal procedure code, a defendant has the
right to a public trial, presumption of innocence, a lawyer of his or her choice, and
the right of appeal in most cases that involve major penalties. These rights were
not respected in practice. Panels of judges adjudicate trials; there is no jury system
in the civil and criminal courts. In the Media Court, a council of 11 persons
selected by the court adjudicates cases. No defendants in any court had the right to
confront their accusers, nor were they granted access to government-held evidence.

The UNHRC and various human rights groups, including AI, HRW, and Reporters
without Borders (RSF) continued to condemn trials in the revolutionary courts for
disregarding international standards of fairness. On November 4, the UNHRC
expressed deep concern about the frequent violations of fair trial guarantees.

The government often charged individuals with vague crimes such as
“antirevolutionary behavior,” “moral corruption,” “siding with global arrogance,”
moharebeh, and “crimes against Islam.” Prosecutors imposed strict penalties on
government critics for minor violations. When postrevolutionary statutes did not
address a situation, the government advised judges to give precedence to their
knowledge and interpretation of Islamic law (Sharia). Under the law judges may
find a person guilty based on their own “divine knowledge” (elm-e ghazi), or they
may issue more lenient sentences for individuals who kill others considered
“deserving of death” (mahdoor-ol-dam), meaning that the victim had done
something contrary to Sharia. Secret or summary trials of only five minutes
duration frequently occurred. Other trials were deliberately designed to publicize a
coerced confession.

During the year human rights groups noted the absence of procedural safeguards in
criminal trials. There were many examples of the prosecution providing fabricated
evidence, forced confessions, trials closed to the public, and trials without juries.
Courts often used confessions made under duress or torture. In one instance the
court used private e-mails written while the prisoner was in solitary confinement as
a confession for the purposes of his sentencing.

On June 16, AI reported that three mothers faced execution after being convicted
of drug-trafficking crimes in an unfair trial. Authorities denied them access to a
lawyer to prepare for the trial, and they had no right to appeal their death
sentences, which were merely confirmed by the prosecutor general as required by
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the law. Authorities arrested the three women in 2009 and interrogated them
without the presence of their lawyers. On August 10, AI stated that the women’s
cases had likely been sent for review by the Amnesty and Clemency Commission,
but there was no further information at year’s end.

On October 19, Branch 28 of the Revolutionary Court reportedly upheld a death
sentence--preceded by seven-and-a-half years in prison--for Saeed Malekpour, who
was arrested in 2008 by the IRGC’s “cyber army,” a branch of the IRGC used to
monitor online activities for unlawful behavior. While it was established to
monitor and prevent activities including criminal and terrorist behavior, the unit
was also used to monitor opposition to the regime (see section 2.a.). Malekpour
was charged with managing pornographic Web sites. Malekpour maintained that
the Web sites used programs he wrote but that he was not aware of the nature of
the sites. According to the Human Rights House of Iran (RAHANA), Malekpour’s
family and attorney made numerous requests for neutral third-party information
technology experts to study and investigate Malekpour’s case and share their
findings in court, but the judge denied their repeated requests. The court handed
down its verdict after only two weeks. At year’s end he remained in prison.

On December 18, state media broadcast an interview with a dual U.S.-Iranian
national who “confessed” to being a spy against Iran. The individual was
reportedly detained August 29 and held in Evin Prison without access to an
attorney. An espionage trial began on December 27, with a court-appointed lawyer
representing the dual national. The government refused consular access by the
Swiss, who represent U.S. interests in Iran.

There were developments in a high-profile case from 2006. On January 17, Zohre
Elahian, a Majlis member, stated that judiciary authorities commuted Sakineh
Mohammadi-Ashtiani’s sentence from death by hanging to 10 years in prison. In
2006, after having been convicted and punished with 99 lashes for involvement in
her husband’s murder, a court sentenced Ashtiani to death by stoning for adultery,
suspended in September 2010. On June 22, the chief of the East Azerbaijan Justice
Administration stated that Ashtiani had begun serving her prison term. However,
he further announced that another sentence had not yet been determined.
According to a July 8 report received by the International Committee against
Stoning (ICAS), Ashtiani remained in Tabriz Central Prison, where she had
attempted suicide as a result of psychological pressure from her incarceration,
impending sentence, and deprivation of family visits. On May 16, a revolutionary
court sentenced one of Ashtiani’s lawyers, Houtan Kian, to 11 years in prison for
allegedly having two identity cards and for antiregime activities. According to
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reports, Kian had not been allowed to meet with his lawyer or family and was
subjected to significant physical torture and solitary confinement since his arrest in
May. On October 28, HRANA reported Kian had been moved to the methadone
section of Tabriz Prison. Ashtiani’s son, who had also been arrested, was released.

Opposition groups continued to question the legitimacy of the special clerical court
system. The court is headed by a scholar in Islamic law and is capable of ruling on
legal matters through independent interpretation of Islamic legal sources. Clerical
courts, which investigate alleged offenses and crimes by clerics and which the
supreme leader directly oversees, are not provided for in the constitution, and they
operated outside the domain of the judiciary. Critics alleged that clerical courts
were used to prosecute clerics for expressing controversial ideas and for
participating in activities outside the sphere of religion, such as journalism or
reformist political activities.

Political Prisoners and Detainees

Statistics regarding the number of citizens imprisoned for their political beliefs
were not available, but human rights activists estimated the number in the
hundreds, perhaps as high as 900. According to the ICHRI, an estimated 500
persons were arbitrarily detained for peaceful activities or the exercise of free
expression, and another 500 prisoners of conscience had been sentenced to lengthy
prison terms following unfair trials. On June 28, the ICHRI reported there were
more than 200 political prisoners inside Ward 350 of Evin Prison, at least 120 of
whom were imprisoned in the aftermath of the 2009 elections or as Green
Movement supporters.

During the year the government rounded up students, journalists, lawyers, political
activists, artists, and members of religious minorities (see sections 1.a. through
1.e., 6, and 7.a.). The government charged many with crimes such as “propaganda
against the regime,” “insulting the regime,” and apostasy, and treated such cases as
national security trials. According to opposition press reports, the government also
arrested, convicted, and executed persons on questionable criminal charges,
including drug trafficking, when their actual offenses were reportedly political.
The government also reportedly held some persons in prison for years under
charges of sympathizing with terrorist groups such as the MEK, which were often
baseless charges. Authorities routinely held political prisoners in solitary
confinement for extended periods and denied them due process and access to legal
representation. Political prisoners were also at greater risk of torture and abuse in
detention. The government generally placed political prisoners in prisons far from
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their homes and families. The government did not permit international
humanitarian organizations or UN special rapporteurs access to political prisoners.

In a July 13 letter to UN special rapporteur Ahmed Shaheed, imprisoned journalist
Issa Saharkhiz accused authorities of using harsh prison conditions to slowly kill
political prisoners. Saharkhiz stated: “What is happening now in the prisons is a
crime against humanity; it is just as bad as Stalin’s inhumane mandatory labor
camps in Siberia.” Saharkhiz warned that the government’s objective was “to kill
the protesting prisoners silently and gradually.” Referring to the death of two
political prisoners, Hoda Saber and Mohsen Dokmehchi, he wrote: “They are
deliberately trying to destroy us and have prepared a silent death for us because
they fear our survival even behind bars.” Saharkhiz, one of the founders of the
Society for the Defense of Press Freedom in Iran, was arrested in 2009 and
sentenced to three years in prison for “insulting the leader and the regime.” He
was banned from political and media activities for five years and prohibited from
leaving the country for a year. At year’s end he was at Rejai Shahr Prison and had
not been permitted temporary medical leave despite severe health problems.
Opposition Web site Saham News reported on August 29 that prison officials beat
Saharkhiz on his way to the prison infirmary.

Authorities occasionally gave political prisoners suspended sentences or released
them for short or extended furloughs prior to completion of their sentences, but
they could order them to return to prison at any time. Suspended sentences often
were used to silence individuals. The government also controlled political activists
by temporarily suspending baseless court proceedings against them and allowing
authorities to rearrest them at any time, and it attempted to intimidate activists by
calling them in repeatedly for questioning. The government issued travel bans on
former political prisoners (see section 2.d.).

On April 3, according to opposition media, police arrested Ghassem Sholeh Saadi,
a Tehran University professor and former parliamentarian, based on a two-and-a-
half-year sentence allegedly revoked several years ago. He was convicted of
“insulting the authorities,” “acting against national security,” and “spreading
propaganda to agitate public opinion,” based on a letter he wrote in 2002
criticizing some of Ayatollah Khamenei’s policies and for giving media interviews
on the same. At year’s end he was in prison. His repeated requests to authorities
for medical attention were denied despite his worsening medical condition, a spinal
injury resulting from alleged torture in prison.
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On April 29, journalist Siamak Pourzand, age 80, who was held under house arrest
in recent years due to his advanced age and health problems, committed suicide by
jumping from the sixth-story balcony of his apartment in Tehran. In 2002
authorities sentenced Pourzand to 11 years in prison for “spying and undermining
state security” and “links with monarchists and counterrevolutionaries,” after
torturing and holding him in solitary confinement for months.

On May 3, the government arrested human rights activist Ashkan Zahabian so that
he could fulfill a six-month prison term for disturbing public order and for
organizing protests at his university. From December 2010 until his arrest, his
family faced harassment from Intelligence Ministry representatives, including
death threats. On June 13, the ICHRI reported that Zahabian remained in solitary
confinement and on August 31, he had begun a hunger strike in Matikola Prison.
Zahabian’s father told the ICHRI that prison staff had moved his son to solitary
confinement after he began his strike, even though he was in a coma, according to
other prisoners. His father added that Zahabian had experienced stomach bleeding
for two weeks and authorities refused his requests for outside treatment.
According to the ICHRI, he was subjected to torture during his incarceration and
was housed with violent criminals. On September 22, Zahabian was released and
at year’s end remained out of prison, suffering from stomach bleeding, liver
damage, and other health issues resulting from his reported torture.

On May 4, a court banned Hassan Younesi, a reformist attorney and the son of a
former minister of intelligence, from practicing law for five years and sentenced
him to one year in prison. The sentence was upheld on appeal on July 4. He was
summoned by Evin Prison authorities to serve his sentence. He went to prison and
was released on September 29 on furlough. Forces arrested Younesi during the
2009 postelection events and detained him for a lengthy period of time in ward 209
of Evin Prison. At year’s end he reportedly was out of prison on furlough.

On May 15, a court presided over by Judge Pir Abbasi sentenced student activist
Mostafa Eskandari to 31 years in prison. Authorities arrested Eskandari in 2009
while he was participating in a memorial service at the grave of Neda Agha
Soltani, who was killed during the 2009 postelection protests. He was accused of
various offenses, including diversion of public opinion, being interviewed by
foreign media, and harming national security. During his interrogation he was
reportedly violently beaten and tortured; reports stated that interrogators broke his
nose and ribs. According to human rights activists, Eskandari was arrested with
his wife, Kobra Zaghe Doust. She was imprisoned for two years, during which
time she was also violently interrogated and forced to file for divorce against her
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husband after being threatened with a prolonged sentence of imprisonment. Prison
officials prevented Eskandari from seeing his mother on December 16 and beat
him when he tried to give her medicine for her failing health. At year’s end he
remained in Gohardasht prison.

On June 1, according to eyewitness accounts, plainclothes police beat reform
activist and women’s rights campaigner Haleh Sahabi, leading to her death from
cardiac arrest. Sahabi had been serving a two-year sentence after being arrested
outside the parliament in 2009, following Ahmadinejad’s inauguration. She had
been released from prison to attend the funeral of her father, prominent political
activist Ezzatollah Sahabi. According to eyewitness accounts reported by
international NGOs, including a journalist and member of the Iran Freedom
Movement, police interrupted the funeral procession and beat mourners, including
Sahabi. During a June 14 press conference, Tehran prosecutor Abbas Jafari
Dolatabadi denied authorities had any role in Sahabi’s death. In mid-December
Majlis member Ali Motahari publicly admitted that the authorities “did not want
her to die, and what happened was a result of a lack of attention [by the agents].”
At year’s end there had been no investigation.

On June 3, the family of imprisoned journalist Masoud Bastani reported that a
prison guard beat him in front of them after Bastani asked for more time to say
goodbye at the end of visiting hours in Rejai Shahr prison. According to the
family, hospital staff later told them he arrived unconscious and was treated for
minor head injuries. On June 9, prison officials reportedly transferred him to
solitary confinement, where he later went on a hunger strike to protest the deaths of
Hoda Saber and Haleh Sahabi in prison. Security forces arrested Bastani in 2009;
he was sentenced to six years’ imprisonment for propaganda against the
government, creating unrest, and disturbing public order. At year’s end he was in
prison. His wife, Mahsa Amrabadi, also a journalist, was arrested during March 1
protests in Tehran. She was detained in Evin Prison and released on bail on March
16. On June 16, Branch 28 of the Revolutionary Court presided over by Judge
Moghiseh sentenced Amrabadi to one year in prison for her antiregime interviews
and reporting.

On June 12, according to opposition Web sites, journalist and rights activist Reza
Hoda Saber died of a heart attack reportedly brought on by a 10-day hunger strike
and beatings by prison authorities without proper medical attention. On June 13,
64 political prisoners in Evin Prison’s ward 350 released a statement blaming Hoda
Saber’s death on abuse by prison authorities. Kaleme reported that Hoda Saber
began the strike after Haleh Sahabi died at the funeral of her father on June 1.
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Prosecutor General Gholam-Hossein Mohseni-Ejei immediately refuted allegations
that Hoda Saber died as a result of the hunger strike or beatings. On June 14, he
announced an investigation and stated that his office was awaiting statements from
the prison authorities. The Tehran Prosecutor’s Office gave a press conference at
the same time stating that the prison officials may not have reacted quickly enough
to Saber’s health complaints. At year’s end no further information on the
investigation was available. Saber had been serving a 10-year sentence. He was
initially arrested in 2000, then released, but detained again during the 2009
postelection crackdown.

From June 12 to July 9, the government detained Mansoureh Behkish, a member of
the Mourning Mothers, an organization against execution of prisoners, in Evin
Prison. She was previously detained in January 2010, as well as in 2008 and 2009.
She is prohibited from leaving the country. Several other members of Mourning
Mothers were imprisoned during the year. Parvin Mohktare, mother of Kouhyar
Goudarzi, was sentenced to 23 months following her August 6 arrest for protesting
her son’s imprisonment. She remained in prison at year’s end. Zhila Mahdavian
was sentenced to five years’ imprisonment for protesting her son’s imprisonment
for his involvement in post-2009 election protests. She was later released on bail
and remained out of prison at year’s end. Zhila Karamzableh, a poet, was
sentenced to five years’ imprisonment for writing a poem for Mourning Mothers.
She began serving her sentence on December 27 and was in prison at year’s end.
March media reports indicated that Mourning Mothers member Hakimeh Shokri
remained in prison with deteriorating health. In December 2010 authorities
arrested Shokri at Behesht Zahara Cemetery along with several other mothers
celebrating the birthday anniversary of one of the protesters killed during the 2009
Ashura protests.

On June 15, Mehdi Tajik began his two-year prison sentence in Evin Prison. Tajik,
a graduate student at University of Tehran and an outspoken student activist and
journalist, was also banned from political activity and journalism for 15 years. He
was arrested in his home following the mass Ashura protests in 2009 for founding
a student activist organization. He was released in March 2010 on bail. However,
on June 15, he was summoned by the Evin Prison enforcement authorities to serve
his sentence and remained in prison at year’s end.

On June 21, according to the ICHRI, Intelligence Ministry officers forcibly entered
journalist and photographer Maryam Majd’s home, confiscated personal items, and
arrested her a day before a planned trip to Germany to photograph the Women’s
World Cup. On the same trip she was supposed to complete work on a book about
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female soccer players. On July 12, a source close to the family told the ICHRI that
Majd had spent more than 20 days in solitary confinement and that she had
developed digestive and kidney problems. She was released in late July on bail
(see section 2.a.).

On July 8, according to HRANA, Branch 3 of the Revolutionary Court in
Khuzestan Province sentenced blogger Payman Roshan Zamir to 17 months in
prison for “propaganda against the regime” and “insulting the supreme leader.”
According to the ICHRI, during his May 14 closed trial Zamir did not present a
defense to protest the unjust proceedings, including the closed nature of the trial,
the lack of jury or representative of the Prosecutor’s Office, and fabricated
evidence presented against him. He served one month in Karoon Prison, where he
recounted the harsh conditions there to the ICHRI in an interview. He was
released on bail, and at year’s end he likely remained out of prison.

On July 10, security officials arrested actress and Green Movement supporter
Pegah Ahangarani before she could leave the country to go to the Women’s World
Cup, where she was scheduled to participate in related television programming.
She was also released in late July.

In mid-September, according to several opposition Web sites, authorities arrested
three state media journalists--Mehrdad Sarjouei, a writer for the international
sections of the English language daily newspapers; Amir Ali Alamehzadeh, a
journalist at the Iranian Labor News Agency; and Hadi Ahmadi, a journalist in the
economics section of the ISNA--and detained them in Evin Prison. At year’s end
they reportedly remained in prison pending charges and trial.

On October 11, the ICHRI reported that Ali Tari, a former IRGC member during
the Iran-Iraq war and former Mousavi campaign director, returned to prison to
serve his remaining six-month prison sentence for “publishing falsehoods.” He
had been on medical furlough for his heart condition. The ICHRI reported that
Tari’s situation in Mati Kola Prison was dire and that prison officials were
preventing the delivery of medication for his heart condition. At year’s end he
remained in prison.

In mid-October human rights organizations reported that security forces had
arrested disabled war veteran and Mousavi campaign member Hossein Fayezi at
his home and confiscated his personal belongings. At year’s end he remained
incommunicado.
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On December 17, blogger Hossein Ronaghi Maleki submitted a letter to the Tehran
Prosecutor’s Office protesting his treatment in prison and at the same time began a
hunger strike. Maleki was arrested in 2009 for blogging about the postelection
protests. In October 2010 Branch 26 of the Revolutionary Court sentenced him to
15 years in prison. According to interviews by family with the ICHRI, prison
officials usually beat him after each letter he sent to the Prosecutor’s Office.

There were developments in several cases from previous years.

On February 8, a revolutionary court sentenced Mehdi Mo’tamedi Mehr, a member
of the Committee to Defend Free, Healthy, and Fair Elections and the banned
political organization, the Freedom Movement of Iran, to five years in prison for
his political activities during the 2009 election. Authorities detained him after the
committee published a statement about civil society institutions as election
observers.

On January 10, an appeals court upheld a 10-year prison sentence and ban on
political activities for Emad Bahavar, also a member of the Iran Freedom
Movement. In 2009 authorities detained Bahavar for “spreading propaganda
against the regime” by campaigning for presidential candidate Mousavi. At year’s
end he remained in Evin Prison.

At year’s end student activists Mohsen Barzegar and Iman Sadighi were likely in
prison. Their colleague Nima Nahvi was released on January 12 after serving a 10-
month sentence. In February 2010 an appeals court upheld prison sentences for
Barzegar, Sadighi, and Nahvi, and one-year suspended sentences for Hamid Reza
Jahantigh, Hessam Bagheri, Siavash Salimi Nejad, and Ali Taghipour. The
students, most of whom were also prohibited from attending educational
institutions for one to five years, were convicted of “actions against national
security” and “propaganda against the regime,” based on their alleged planning of
and participation in protests and contacts with antigovernment entities. Authorities
conditionally released Barzegar and Sadighi in July 2010, but in November 2010
police rearrested Barzegar at his home prior to National Students Day, allegedly
without a warrant (see section 2.b.), and again during February 14 protests in
Babol. According to the ICHRI, Barzegar informed his family of his poor health
in solitary confinement at the Sari Intelligence Office Prison, but authorities
reportedly refused to allow his family to bring him medication. On June 24,
multiple news sources reported that Barzegar had been sentenced to two years in
prison for acting against national security and insulting the supreme leader due to
his participation in the February 14 protests. He was tried in absentia. In February
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various news sources reported that security forces had arrested Sadighi during
student demonstrations in Shiraz and taken him to an unknown location. On
August 29, HRANA reported that Sadighi had been sentenced to one year in prison
for “propaganda against the regime.” Authorities reportedly held him in solitary
confinement for 20 days and tortured him into making a televised confession.

At year’s end Bahareh Hedayat remained in Evin Prison. She was convicted in
May 2010 of “insulting the supreme leader” and sentenced to six months for
“insulting the president,” and five years for “actions against national security,
propagation of falsehoods, and mutiny for congregation.” News reports on
November 3 indicated that six months were added to her sentence, which was up to
10 years because of earlier suspended sentences. On June 1, Hedayat’s husband
was arrested during reform activist Haleh Sahabi’s funeral (see section 1.a.).

On January 24, authorities executed Jafar Kazemi (see section 1.a.).

On January 9, a revolutionary court convicted Nasrin Sotoudeh, a prominent
human rights lawyer and women’s rights activist, of “acting against the national
security,” “propaganda against the regime,” and “membership in a banned
organization,” namely Nobel Peace Prize laureate Shirin Ebadi’s Defenders of
Human Rights Center (DHRC), and sentenced her to 11 years in prison and a 20-
year travel ban. Following her sentencing, authorities arrested her husband, Reza
Khandan, and detained him for a week. He was released without charge.
However, in early October he was summoned again to the Evin Prison court for a
letter he wrote to the Tehran prosecutor in 2010 regarding the conditions of his
wife’s arrest. On June 8, the ICHRI reported that Evin Prison authorities had
forbidden visits to Sotoudeh from her children in an effort to pressure her into a
false confession. In early August a prison guard harassed Sotoudeh’s husband and
tried to take away his notebook, which he had used to write down a list of items
Sotoudeh needed in prison. According to the ICHRI, officials detained the family
for five hours, during which time a female officer physically abused Sotoudeh’s
sister. On September 14, Branch 54 of the Tehran Appeals Court reduced
Sotoudeh’s sentence to six years. On October 24, Khandan told the ICHRI that
prison officials had banned visits because Sotoudeh had refused to wear a
headscarf inside the prison, even though there are no laws requiring it. She
remained in prison at year’s end, but it was unknown whether she remained in
solitary confinement.

On March 31, RAHANA reported that authorities had banned family visits at Evin
Prison for Mahdieh Golrou, a student activist and member of the Advocacy
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Council for the Right to Education who was convicted in April 2010 for
interviewing with foreign media in a tribue to Students Day, acting against national
security, and purported association with the MEK. She reportedly told the ICHRI
that the MEK charge was “ridiculous.” On April 9, according to media reports,
authorities moved Golrou to solitary confinement at Evin. On July 16, they
reportedly released her on a short furlough. Golrou suffered from intestinal
problems during her imprisonment.

During the year Shabnam Madadzadeh, a member of the Islamic Association and
deputy general secretary of the student organization Tahkim Vahdat, and her
brother Farzad Madadzadeh wrote separate letters to the UN special rapporteur for
Iran criticizing the government’s treatment of prisoners, especially members of the
opposition. Shabnam wrote that prison officials abused her and her brother during
interrogations and held them in solitary confinement in Evin Prison. Human rights
advocates reported that Farzad and three other political prisoners were subjected to
“severe mental and physical pressure” from Intelligence Ministry officials after
writing the letter. In January 2010 a revolutionary court sentenced the
Madadzadehs to five years’ imprisonment for moharebeh and propaganda against
the state. In late October Shabnam said she was being held in Evin, after having
been transferred to Qarchak Prison from Rejai Shahr Prison earlier in the year,
while Farzad had reportedly been transferred back to Rejai Shahr, where he was
being held incommunicado.

On September 10, security forces arrested Abdolfattah Soltani (see section 1.f.).

On November 2, the trial began of ailing former foreign minister and secretary
general of the Freedom Movement of Iran Ebrahim Yazdi on charges of “assembly
and collusion against national security,” “propaganda against the regime,” and
“establishing and leading the Iran Freedom Movement” after being delayed several
times during the year. At the trial opening, the 80-year-old Yazdi did not offer any
defense; Yazdi’s son-in-law told the ICHRI Yazdi chose to remain silent because
he found the Revolutionary Court unqualified to review the charges against him.
According to his son-in-law, Yazdi remained imprisoned under house arrest, where
poor living conditions were reportedly contributing to his deteriorating health.
Authorities detained Yazdi at least three times after the 2009 elections, most
recently on October 1 for allegedly participating in “illegal prayer” while he
attended the memorial service for the daughter of a friend in a private home.
During one of his imprisonments, Yazdi spent 50 days in solitary confinement.
Yazdi was recovering from bladder cancer surgery as well as heart surgery, and his
family believed his life was in danger because of the physical and psychological
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strains of imprisonment, lack of medical care, and unsanitary conditions. At year’s
end he was out on bail for medical treatment.

On July 19, Branch 4 of Evin Prison Court summoned imprisoned student activist
Abdollah Momeni to face new charges of “propagating lies” and “creating public
anxiety” for a letter he wrote to the supreme leader in August 2010 asking him to
investigate the use of torture during interrogations. On July 10, Momeni’s wife,
Adinehvand, told Radio Farda that her husband was suffering from intestinal
problems as a result of his recent hunger strike to protest the death of Hoda Saber.
On November 4, she told the ICHRI that she was no longer permitted to visit him.
Momeni, a spokesman for the country’s largest reformist student organization, the
Office to Foster Unity, was arrested during the 2009 postelection crackdown and
was sentenced to four years and 11 months in prison. At year’s end he was in ward
350 of Evin Prison.

During the year authorities continued to prevent an Iranian-American academic
from leaving the country. He was initially arrested in 2009 on charges of
espionage based on his association with the Open Society Institute and sentenced
to 15 years in prison, later reduced to five years by an appelate court. At year’s
end he remained under house arrest and under a travel ban.

On September 1, HRANA reported that judicial and prison authorities at Rejai
Shahr Prison continued to deny medical care to former university student Misagh
Yazdan-Nejad, sentenced in 2009 to 13 years’ imprisonment for participating in a
2007 demonstration. He was reportedly in critical condition with a respiratory
illness. At year’s end he remained in prison in critical condition.

On January 26, Iran Human Rights Voice reported that authorities had released
from detention Mohammad Ozlati-Moghaddam, head of opposition leader
Mousavi’s veterans’ affairs committee. He was reportedly arrested in November
2010 for his connections to the Mousavi campaign.

November 3 media reports indicated that an appeals court upheld a six-year prison
sentence against economist and journalist Saeed Leylaz for allegedly maintaining
ties with foreigners, working to overthrow the government, and critizing the
economic performance of the regime during 2009 postelection protests. He was
released on bail in 2010, and at year’s end it was believed that he remained out on
bail.
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On June 20, IRGC-linked Jahan News reported that the seven-year sentence for
Emaddedin Baghi, founder of the Committee for the Defense of Prisoners’ Rights,
had been reduced to one year on appeal. On June 21, international media reported
that the government had released Baghi, according to his lawyer. In 2010 Baghi
was convicted of “propaganda against the regime” and “colluding against the
security of the regime” in connection with an interview with the late grand
ayatollah Hossein Ali Montazeri and his work advocating for prisoners’ rights. A
revolutionary court also prohibited him from participating in political activity for
five years. Authorities imprisoned Baghi on previous occasions since 2000 for his
activities as a journalist and his campaigns against the government’s execution of
juvenile offenders.

On July 27, the ICHRI reported that Atieh Tehari, the wife of Azerbaijani
journalist and ethnic minority rights activist Saeed Matinpour, said her husband
was suffering from untreated back problems in Evin Prison. He had also had
several heart attacks. Authorities arrested Matinpour in 2007 for participating in a
seminar in defense of Turkish-speaking citizens in Turkey. The court sentenced
him to eight years in prison for “contact with foreigners” and “propaganda against
the regime.”

On February 27, Evin Prison officials reportedly attacked and beat dissident cleric
and regime critic Ayatollah Mohammad Kazemeini Boroujerdi and forcibly shaved
his beard. Some reports suggested Boroujerdi may have lost vision in one eye and
that authorities did not allow him to leave prison to receive medical treatment. On
October 1, human rights groups reported Boroujerdi suffered a severe heart attack,
which led to pulmonary edema. Intelligence authorities reportedly rejected
demands by prison officials for him to be treated at a properly equipped medical
facility. In addition, sources told the ICHRI in April that Boroujerdi’s relatives
and followers reported abuse and arrests by security forces. Forces in civilian
dress allegedly attacked Boroujerdi’s sister Sa’adat and broke her leg, and
authorities placed their brother, Seyed Mohsen Boroujerdi, under house arrest.
The government also arrested supporters of Boroujerdi, including Iman Khodadai,
who reported he and others had been beaten and abused while in detention. The
followers also reported that security forces put their homes under surveillance and
harassed them with threatening phone calls. Boroujerdi is a cleric who advocated
the separation of religion and government; he was arrested in 2006. At year’s end
there were continued concerns over his health and lack of access to medical care.

On June 28, human rights advocates reported that authorities moved Berouz Javid-
Tehrani and three other political prisoners to solitary confinement at the IRGC
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prison and later transferred them to ward 209 of Evin Prison. Family members
reportedly were not permitted to visit, and he was reportedly severely tortured
throughout the duration of his imprisonment. He was retried in mid-October and
was finally released on his birthday, December 26. Javid-Tehrani was imprisoned
for his activities during the 1999 student uprising.

All of the following individuals were believed to be in prison at year’s end: writer
and student leader, Amin Ghazain Tehran; reformist cleric and member of the
reformist political group Islamic Iran Participation Front, Hadi Qabel; Office for
Consolidating Unity spokesman, Ali Nikunesbati; former vice president,
Muhammad Ali Abtahi; former interior ministry official Muhammad Atrianfar;
intellectual and prodemocracy activist, Saeed Hajjarian; Kurdish and women’s
rights activist, Zeinab Bayazidi; political activist and founder of the Iran
Democratic Party, Abbas Khorsandi; and leader of the reformist party the Islamic
Iran Participation Front, Mohsen Mirdamadi.

Civil Judicial Procedures and Remedies

According to the constitution, the Court of Administrative Justice--under the
supervision of the head of the judiciary--investigates the grievances of citizens
with regard to government officials, organs, and statutes. In practice citizens had
limited ability to sue the government. Citizens were not able to bring lawsuits
against the government for civil or human rights violations. Dispute resolution
councils are available to settle minor civil and criminal cases through mediation
before referral to courts.

Property Restitution

The constitution allows the government to confiscate property acquired illicitly or
in a manner not in conformity with Islamic law, and the government particularly
targeted religious minorities, especially members of the Baha’i faith. On
November 9, the Baha’i International Community reported a wave of attacks on
Baha’is and their property, including incidents in Rasht, Semnan, and Sanandaj.
There were also reports during the year of authorities seizing the property of
members of the Sunni religious minority.

f. Arbitrary Interference with Privacy, Family, Home, or Correspondence

The constitution states that “reputation, life, property, [and] dwelling[s]” are
protected from trespass except as “provided by law,” but the government routinely
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infringed on this right. Security forces monitored the social activities of citizens,
entered homes and offices, monitored telephone conversations and Internet
communications, and opened mail without court authorization. There were
widespread reports that government agents entered, searched, and ransacked the
homes and offices of reformist leaders, activists, and journalists--including
relatives of BBC staff members (see section 2.a.) and political opposition leaders
Mir Hossein Mousavi and Mehdi Karroubi (see section 1.d., Arrest Procedures and
Treatment While in Detention)--in an attempt to intimidate them.

On September 10, after his arrest on charges of waging propaganda against the
regime, establishing the DHRC, assembly and collusion against national security,
and accepting an unlawful prize (the Nuremberg International Human Rights
Award), security forces entered the offices of prominent human rights lawyer
Abdolfattah Soltani and confiscated several of his personal and family documents.
According to Soltani’s wife, Massoumeh Dehghan, authorities later ransacked their
house without showing a warrant, and took CDs, papers, and other documents. On
November 17, Dehghan told the ICHRI that Soltani would file a lawsuit against the
head of the governmental High Council for Human Rights, Mohammad Javad
Larijani, for making false accusations against him. On November 16, Larijani
accused Soltani of being connected to terrorist groups. Soltani was believed to be
in solitary confinement in Evin Prison at year’s end.

On December 10, authorities released a film of journalist Mohammad Nourizad on
YouTube consisting of private video footage made by Nourizad in his home, which
included praise for the supreme leader as well as criticism of Nourizad’s time in
solitary confinement for 60 days. He also wrote weekly letters to the supreme
leader criticizing the conditions of solitary confinement in prisons. For his
criticism IRGC officials confiscated the footage along with his camera and other
personal items during a raid on his home. Following the raid the video was
released without his knowledge or consent. According to an interview with the
ICHRI on December 17, Nourizad was concerned that the government would use
the video against him.

There were numerous reports throughout the year of women arrested for wearing
improper hijab or tight-fitting clothing. Authorities also warned men against
wearing necklaces and having “glamorous” hairstyles. There were several reports
of morality police shutting down hair salons for dispensing “inappropriate” styles
for men. Vigilantes continued their attacks on young persons considered “un-
Islamic” in their dress or activities during the year, with no reports of criminal
sanction for their violence. On May 9, the head of the morality police,
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Commander Ahmad Rouzbehani, announced that 70,000 officers would be
dispatched to enforce the stringent moral codes, particularly concerning “un-
Islamic” dress, among the population. The media reported several arrests, some
with violence, over the summer as these officers stopped vehicles to arrest women
without proper head coverings and stopped people on the street for “appearing in
public like models.” YouTube featured several videos of women being harassed
by uniformed and plainclothes officers for inappropriate dress.

There were reports during the year that the MOIS arrested and harassed family
members of political prisoners and human rights activists, especially the in-country
family members of activists living outside of the country, prohibiting them from
speaking to foreign media or traveling abroad, blocking their telephone
conversations, making false criminal charges against them, and blocking their
access to higher education.

On January 30, authorities summoned one of opposition politician Mehdi
Karroubi’s sons, Mohammad Hussein, to the Evin Prison Court. According to the
Karroubi-affiliated Web site Saham News, authorities questioned Mohammad
Hussein in relation to his father’s stance that prisoners were being abused at the
Kazhirak detention facility. On February 22, authorities arrested another son, Ali
Karroubi, and Mehdi’s daughter-in-law, Nafiseh Panahi, at his parents’ house.
Panahi was released a few hours later, but Ali Karroubi was reportedly detained
until March 17 and paid a bail of 100 million toman ($100,000). Ali Karroubi
alleged he was tortured and beaten throughout his detention in solitary confinement
in Evin Prison.

On October 5, the BBC reported that police and government officials had been
arresting, questioning, and intimidating relatives of BBC staff members of Iranian
origin but who no longer lived in the country. According to the report, authorities
confiscated passports, searched homes, and urged relatives to tell BBC staff
members to stop appearing on air, return to the country, and secretly provide
information about the BBC.

Section 2. Respect for Civil Liberties, Including:

a. Freedom of Speech and Press

Status of Freedom of Speech and Press
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The constitution provides for freedom of expression and of the press, except when
the words are deemed “detrimental to the fundamental principles of Islam or the
rights of the public.” The law states that “anyone who undertakes any form of
propaganda against the state” can be imprisoned for as long as one year; the law
does not define “propaganda.” The law also provides for prosecution of writers for
instigating crimes against the state ornational security, or for “insulting” Islam; the
latter offense is punishable by death. The government severely restricted freedom
of speech and of the press, and it used the law to intimidate or prosecute not just
individuals directly criticizing the government, but also those raising topics such as
women’s or minorities’ rights. The CPJ stated that the government maintained a
campaign of press intimidation throughout the year.

Freedom of Speech: Individuals could not criticize the government publicly or
privately without reprisal, and the government actively sought to impede criticism.
The government monitored meetings, movements, and communications of
opposition members, reformists, activists, and human rights defenders. The
government accessed private e-mail accounts during the year and used the
information obtained to harass, intimidate, and arrest account owners. The
government often charged individuals with crimes against national security and
insulting the regime based upon letters, e-mails, and other public and private
communications. During the year there were several cases of the government
increasing prison sentences for prisoners who wrote open letters criticizing their
treatment or other government practices (see section 1.e.).

On February 3, Branch 28 of Tehran’s Revolutionary Court sentenced Khalil
Bahramian to 18 months in prison and prohibited him from practicing law for 10
years. Bahramian, an attorney who defended many of the 2009 protesters and
other Kurdish prisoners, was found guilty on charges of “spreading propaganda
against the regime” and “insulting the head of the judiciary.” The charges were
based on interviews he conducted with foreign and domestic media following the
May 2010 execution of five political activists he defended. Bahrami had discussed
in the interview various judicial irregularities that led to the hangings. At year’s
end he remained in prison.

On February 20, according to state television, Faezah Hashemi Rafsanjani, the
daughter of former president Akbar Hashemi Rafsanjani and an outspoken political
and women’s rights activist, was briefly detained for “making blunt statements”
and “chanting provocative slogans” at a banned opposition rally in Tehran.
Rafsanjani was later harassed by plainclothes officers at a rally in mid-April for an
interview that she gave opposition news outlet Roozonline, in which she said that
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the regime was run by “thugs and hooligans.” In mid-December she had a closed-
door trial on charges of insulting the regime. At year’s end she had not been
sentenced.

According to Daneshjoo News, during the year the government adopted a harsher
stance and imposed security restrictions against poets deemed critics of the regime.
On March 10, according to various sources, plainclothes policemen arrested
Mostafa Badkoobehi in his home. He was detained in solitary confinement in
ward 209 of Evin Prison before being released on bail. After the elections
Mostafa’s poems focused on criticism of Ahmadinejad’s government.

There were developments in one case from 2010. On June 11, a court sentenced
economist Fariborz Rais-Dana to one year in prison. According to local media, he
was charged with membership in a writers’ association, preparing press releases
for “seditionists” (i.e., reformists), and issuing announcements against the regime,
all stemming from his criticism of government-subsidy cuts in a BBC interview in
December 2010. Rais-Dana was arrested in December 2010 and held for
approximately one month. On January 17, he was released on 30 million toman
($30,000) bail.

Freedom of Press: There were private print media companies in the country, but
the government held significant influence over all media. The Islamic Republic of
Iran Broadcasting (IRIB) directs state-owned media. According to the
constitution, the supreme leader appoints the head of IRIB, and a council
composed of representatives of the president, judiciary, and the Majlis oversees
IRIB’s activities. The government’s Press Supervisory Board (PSB) is responsible
for issuing press licenses (which it sometimes revoked in response to articles
critical of the government) and for examining complaints filed against publications
or individual journalists, editors, or publishers. During the year the government
banned, blocked, closed, and/or censored publications that were critical of the
government. The government did not permit members of foreign media outlets to
film or take photographs in the country, required foreign correspondents to provide
detailed travel plans and topics of proposed stories before it granted visas, and
attempted to influence them through pressure to garner more favorable coverage.
Freedom House considered the country “not free” in terms of media freedom.

The government severely limited the operation of independent print media by
shutting down or prohibiting opposition and reformist newspapers, intimidating
journalists, and censoring news. Government-controlled print media were also
subject to censorship, restrictions, and even temporary closures for reportedly
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insulting the regime. International NGOs reported that authorities had temporarily
shut down at least 40 publications since 2009. The Media Court ordered
permanently closed more than 10 national publications during the year.

On September 5, according to ISNA, the Tehran Prosecutor’s Office banned
Rouzgar, a daily reformist publication, and Shahrvand-e Emrouz, a weekly
reformist magazine, for publishing unacceptable material. According to ICHRI
reports, the charge stemmed from a cover photo of President Ahmadinejad in
traditional garb.

On November 19, the Tehran Prosecutor’s Office ordered a two-month closure of
Etemad, a reformist newspaper, for “disseminating lies and insults regarding
government officials.” The order cited several articles, including an interview with
Ali-Akbar Javanfekr, President Ahmadinejad’s media adviser, head of the Islamic
Republic News Agency (IRNA), and manager of Iran, in which he criticized the
inner circle of the president. On November 20, a Tehran criminal court sentenced
Javanfekr to one year in prison and banned him from journalism for three years for
“publishing materials contrary to Islamic norms” based on an August Iran article
questioning the country’s dress code for women. On November 21, security forces
raided Iran’s offices, reportedly using tear gas to disrupt a press conference where
Javanfekr was speaking, and detained 30 staff members, including Javanfekr. The
government released Javanfekr and the staff members later in the day. At year’s
end he remained free on bail.

The following papers banned in 2009 remained so: Kalameh Sabz, Etemad-e
Melli, the business newspaper Sarmayeh, and Hayat-e no.

According to the constitution, private broadcasting is illegal. The government
controlled and maintained a monopoly over all television and radio broadcasting
facilities through a state-controlled entity, the Voice and Vision Organization.
Radio and television programming--the principal source of news for many citizens,
especially in rural areas--reflected the government’s political and socioreligious
ideology. Although satellite companies broadcast on private networks based in
third countries, the government pressured advertising companies to work only with
state-owned media. In November the police chief publicly warned companies
advertising on satellite television that they might face criminal charges. In doing
so, many independent stations and programs were forced to close. Foreign
programs, such as BBC Persian and Voice of America (VOA), were subjected to
government jamming.
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Satellite dishes that received foreign television broadcasts were forbidden, and the
government often confiscated them from homes. According to opposition Web
sites, police confiscated satellite dishes from rooftops in Tehran ahead of the
February 11 anniversary of the Islamic revolution. In late May authorities
launched a new campaign to remove dishes, and Tehran police confiscated more
than 2,000 satellite dishes in a single day. In mid-August Tehran Special
Operations forces along with plainclothes police used ropes to climb on to
balconies and enter private homes. On October 1, the country’s police chief
promised to intensify efforts to confiscate dishes, having earlier claimed that such
efforts had become “three times more effective” over the previous months. On
October 20, the assistant commander of state security forces in Mazandaran
claimed to have confiscated more than 6,000 dishes. However, most satellite
dishes in individual homes reportedly continued to operate at year’s end.

On December 1, the government banned all foreign media from filming or
reporting on the scene of protests in front of the United Kingdom embassy,
following its storming by students in the previous days. This banning was notable
because although the government has previously prohibited foreign media from
covering opposition rallies, the ones held in front of the embassy were
progovernment.

Book printers were still required to receive prepublication permission from the
Ministry of Culture and Islamic Guidance, which reviewed and censored all
manuscripts. The ministry also inspected foreign printed materials prior to their
domestic release. In January the government banned all publications and sales of
popular author Paulo Coelho’s books due to his support for a journalist who spoke
out after the 2009 postelection violence.

Violence and Harassment: The government and its agents harassed, detained,
tortured, and prosecuted publishers, editors, and journalists for their reporting (see
also section 1.e., Political Prisoners and Detainees). The government also harassed
many journalists’ families, and journalists were often subjected to solitary
confinement in prison. During the year the government detained, jailed, tortured,
or fined numerous publishers, editors, and journalists (including Internet media)
for their reporting. The RSF reported that 42 journalists remained in detention at
year’s end. International NGOs reported that more than 60 journalists were forced
into exile during the year alone, and authorities had shut down at least 40
publications since 2009. Eighteen journalists, along with their families, were in
exile.
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On September 5, police arrested reporter and photojournalist Reza Entessari during
protests to protect the rights of Gonabadi dervishes, a minority group that is a Sufi
sect. In December he was transferred from ward 209 to ward 350 of Evin Prison,
and at year’s end he remained in prison awaiting sentencing.

On September 17, authorities arrested six citizens making a documentary for the
BBC’s Persian news service, reportedly without authorization from the foreign
press department of the Ministry of Culture. Hadi Afarideh, Shahnam Bazdar,
Mojtaba Mirtahmasb, Naser Saffarian, Katayoun Shahabi, Mohsen Shahrnazdar,
and Mehran Zinatbaksh were charged with providing the BBC material deemed
damaging to the regime. Bazdar was released soon after his detention. Authorities
released Afarideh, Saffarian, and Shahrnazdar on October 10 on bail of two million
toman ($2,000) each; Shahabi and Zinatbaksh were released on November 10.
Mirtahmasb was reportedly released on December 11 on bail of two million toman
($2,000).

There were developments in two cases from previous years.

On May 31, a court added another year onto Bahar Ahvaz reporter Abolfazl
Abedini Nasr’s 11-year prison sentence for crimes of “propaganda against the
regime.” The reasons for this additional sentence were not disclosed. In February
2010 security officials beat and arrested Abedini and transferred him to Evin
Prison, where he reportedly underwent harsh torture during interrogation, resulting
in severe heart damage. In April 2010 Branch One of the Revolutionary Court
sentenced him to 11 years in Karoun Prison in Ahvaz for association with foreign
governments, membership in the NGO Human Rights Activists of Iran (HRAI),
and “propaganda against the regime” based on his interviews with foreign media.
During the year authorities denied him medical furlough and family visits.

On June 20, the ICHRI reported that prison authorities allowed Hangameh Shahidi,
an imprisoned journalist, women’s rights activist, and single mother, medical leave
for the first time in eight months. A women’s issues adviser to then presidential
candidate Mehdi Karroubi during the 2009 elections, Shahidi was imprisoned in
2009 on a six-year sentence for “gathering and colluding with the intent to harm
state security” and “propaganda against the regime.”

Censorship or Content Restrictions: The law forbids government censorship, but it
also forbids disseminating information that the government considers “damaging,”
and during the year the government censored publications--both reformist and
conservative--that were critical of government actions or contradicted the official
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version of a story. “Damaging” information included discussions of women’s
rights, the situation of minorities, and certain economic affairs. Government
officials also routinely intimidated journalists into practicing self-censorship.
Public officials often lodged criminal complaints against reformist newspapers,
and the PSB referred such complaints to the Media Court for further action,
including closure and fines. The court conducted its hearings in public with a jury
of appointed clerics, government officials, and editors of government-controlled
newspapers. Some human rights groups asserted that the increasingly conservative
Media Court assumed responsibility for cases before PSB consideration.

The government banned coverage of the April crackdown on the Arab minority
protests in Khuzestan (see section 6, National/Racial/Ethnic Minorities) and denied
both international and local media access to the scene of the protests.

The August 2010 ruling by the Ministry of Culture and Islamic Guidance, which
bans the publication of any news or information related to opposition figures
Mehdi Karroubi and Mir-Hossein Mousavi and former president Mohamad
Khatami, reportedly continued in force.

Libel Laws/National Security: The government commonly used libel laws or cited
national security to suppress criticism. According to the law, if any publication
publishes articles containing insult, libel, false statements, or criticism of an
individual, the individual has the right to respond in the publication within one
month. However, if the libel, insults, or criticism involves Islam or national
security, the individual can be charged with apostasy and crimes against national
security, respectively. The government liberally applied the press law throughout
the year, often citing statements made in various media outlets or Internet
platforms that criticized the government in any way to arrest, charge, and sentence
individuals for crimes against national security. During the year the government
used national security laws to prosecute journalists and individuals who gave
interviews to Western media, including journalist Hassan Fathi, arrested after an
interview with BBC Persian.

At the end of January a court sentenced Mostafa Danashoo, Farshid Yadollahi, and
Amir Eslami, lawyers and members of the Human Rights Commission of the Bar
Association, to six months in prison for disturbing public opinion and libel based
on their legal work with the Gonabadi dervishes. The charges were based on their
dissemination of information regarding violations that security and intelligence
officials committed against their clients. Despite their defense and no proof of
malintent in their case, the government found them guilty of libel and creating
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public anxiety. In September security forces arrested the three, along with at least
one other colleague. At year’s end they were in the security ward of Evin Prison.

On October 5, according to the CPJ, authorities arrested four reformist newspaper
journalists--Medhi Afsharnik, Ali Akrami, Mohamed Heydari, and Mohsen
Hakim--in their homes and took them to Evin Prison. All were charged with
“propaganda against the regime” and “acting against national security.” All had
their homes ransacked and personal items confiscated. They were reportedly
released on bail on October 29. At year’s end their cases were pending.

There were developments in three cases from the previous year. On July 20,
prison authorities summoned Mashallah Shamsolvaezin, head of the journalists’
association and a prominent reform journalist, to serve out his 16-month sentence.
In December 2010 Branch 28 of the Tehran Revolutionary Court sentenced
Shamsolvaezin to 16 months in prison for “insulting the president” and
“weakening” the government, based on interviews he gave to international media.
Shamsolvaezin’s attorney, Mohammad Seifzadeh, was serving a nine-year
sentence in prison and banned for life from practicing law for his role in founding
the DHRC (see section 5) and was therefore unable to defend his client.

On May 5, Ali Malihi, a journalist for reformist outlets Etemad, Irandokht,
Shahrvand-e-Emruz, and Mehrnameh, was released on bail. Malihi was arrested in
February 2010. According to the CPJ, a revolutionary court tried and sentenced
him to four years in prison for “congregation and mutiny against the regime,”
“propagation against the regime,” “participation in illegal gatherings,” “publication
of falsehoods,” and “insulting the president.” The CPJ reported he was held in
solitary confinement for 14 months in Evin Prison and went on at least one hunger
strike to protest his treatment.

On March 2, authorities rearrested journalist and activist Mahboubeh Karami, her
fifth arrest in three years (see section 6, Women).

Internet Freedom

All Internet service providers (ISPs) must be approved by the Ministry of Culture
and Islamic Guidance. The government also requires all owners of Web sites and
blogs in the country to register with the Ministry of Culture and Islamic Guidance,
which along with the Ministry of Communications and Information Technology,
Ministry of National Security, and Tehran Public Prosecutor’s Office, were
represented on the Committee in Charge of Determining Unauthorized Web Sites,
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the governmental organization that determines blocking criteria. The same laws
that apply to traditional press also apply to electronic media, and the PSB and
judiciary used the law to close Web sites during the year. NGOs reported that the
government continued to increase its control over the Internet during the year as
more citizens used it as a source for news and political debate. In March the
government announced plans to create a national Intranet to replace the Internet.
At year’s end this had not occurred, but there was increasing government rhetoric
publicizing the system’s imminent release.

On November 1, the government established the “Cyber Command” under the
IRGC, replacing and strengthening the “Cyber Army.” Like its predecessor, the
Cyber Command was officially charged with monitoring, identifying, and
countering cyberthreats against national security, and it had recruited and trained at
least 2,000 members at year’s end. In practice the organization harassed
individuals who spoke out against human rights violations committed by the
government or criticized the government in any way, including raising sensitive
social issues. On August 28, the Cyber Army created a fake e-mail certificate
authority, exposing the personal details of more than 400,000 Gmail account
holders and putting the lives of many political opposition, human rights activists,
and defenders in jeopardy.

Through the Cyber Army and Cyber Command, the government monitored
Internet communications, especially social networking Web sites, such as
Facebook, Twitter, and YouTube, and collected individuals’ personally identifiable
information in connection with peaceful expression of views. Freedom House and
other human rights organizations reported that authorities sometimes stopped
citizens at Tehran International Airport as they arrived in the country, asked them
to log into their YouTube and Facebook accounts, and in some cases forced them
to delete information.

According to the RSF, the government blocked access to thousands of Web sites
during the year, and in some cases ISPs redirected computer users to
progovernment news sites. The government also intentionally reduced Internet
speed to discourage residents from downloading material. By order of the Ministry
of Communications and Internet Technology, households and cybercafes are
prohibited from having high-speed access. During the year and especially during
periods prior to the anniversaries of the Islamic Revolution (February 11), the 2009
presidential election (June 12), and Students’ Day (December 7), and in
anticipation of the February 14 and 15 protests, authorities slowed Internet speed,
further reduced access to Facebook, Twitter, and Gmail, and blocked opposition
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Web sites, including that of former president Rafsanjani. The Cyber Army and
Cyber Command used sophisticated filtering technology to rapidly respond to
newly published Web content. On February 22, the Cyber Army hacked into the
VOA and 95 affiliated Web sites to protest their “immoral” messages. On each of
the sites that it hacked into, an Iranian flag and gun were displayed. The Reuters
and Yahoo! Web sites were allegedly censored and periodically blocked since the
early spring. Google was reportedly partially blocked and Gmail periodically
interrupted. According to reports from early July, the government had banned
more than five million sites, including social media sites and foreign news sites
such as BBC and CNN. Internet NGOs reported that the government was
attempting to block Internet users’ access to circumvention technology. The
government also censored Web site content to control citizens’ access to
information. According to Freedom House, content from opposition leaders’ Web
sites was deleted during the year.

During the year the government prosecuted and punished several bloggers and
webmasters for peaceful expression of dissenting views through the Internet.

On January 24, a revolutionary court sentenced journalist, blogger, and IRNA
reporter Siamak Ghaderi to four years in prison on charges of participating in and
reporting on public gatherings and “propaganda against the regime” for calling the
government “illegitimate.” According to RAHANA, authorities detained Ghaderi
in August 2010. Authorities reportedly stated that he would be released only if he
guaranteed he would publish articles in support of the government and the supreme
leader on his blog, Our IRNA, a critique of the government-run news agency. On
November 24, he published an open letter from prison regarding harsh and
inhumane conditions, as well as the poor treatment he and other journalists had
received from presidential media adviser and IRNA chief Ali Javanfekr. At year’s
end Ghaderi remained in prison.

According to HRANA, on June 15, Branch 15 of the Revolutionary Court
sentenced Mostafa Akhavan, a student at Tehran’s aerospace university and
member of the National Trust Party, to one year in prison for “action against
national security” and “propaganda against the system” for his postings on
Facebook, including news about the Green Movement and a call for an illegal
gathering, an interview he conducted with foreign media, and for the antiregime
content of his e-mails. Since Akhavan did not have a record, the prison sentence
was suspended for five years.
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There were developments in several cases from previous years. On June 15,
Branch 28 of the Revolutionary Court in Tabriz sentenced Hanieh Farshi, arrested
in her home in July 2010 in eastern Azerbaijan Province, to seven years in prison
for blasphemy and “propaganda against the regime,” based on Internet activities,
including private e-mails. Her conviction was based upon a confession reportedly
made while in solitary confinement and under physical and psychological torture.
Authorities did not permit her lawyer to be present in court. At year’s end she was
thought to be in Evin Prison.

In December 2010 authorities released student blogger Navid Mohebbi from Sari
Prison after a Revolutionary Court sentenced him to a three-year suspended
sentence for membership in and support for the One Million Signatures campaign
(see section 6, Women), “acting against national security,” “propaganda against the
state” through connection with foreign media, insulting the founder of the Islamic
Republic, and insulting the supreme leader. Mohebbi’s trial took place behind
closed doors; not even his lawyer attended.

On June 9, an appeals court confirmed a 19-year prison term against blogger and
dual Iranian-Canadian citizen Hossein Derakhshan; he was also banned from
political or journalistic activities for five years. At year’s end he reportedly
remained in Evin Prison. Authorities arrested Derakhshan in 2008 while he was
visiting the country and allegedly subjected him to psychological and physical
abuse in detention, according to the HRAI.

Academic Freedom and Cultural Events

The government significantly restricted academic freedom and the independence of
higher education institutions. In March 2010 Minister of Science, Research, and
Technology Kamran Daneshjoo stated that only those who have proven
commitment to Islam and the “rule of the jurisprudent” (velayat-e-faqih) can teach
or study at universities. To be admitted to university, applicants had to pass
“character tests” in which officials eliminated applicants critical of the
government’s ideology and gave advantages to Basij members. Authorities
systematically targeted university campuses to suppress social and political
activism, including banning independent student organizations, imprisoning
student activists, purging faculty, depriving targeted students from enrolling or
continuing their higher education based on political or religious affiliation or
activism, and restricting social sciences and humanities curricula.
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The 2010 restrictions placed on humanities programs in universities increased
throughout the year, including the severe restrictions on social sciences education,
and the barring of universities from opening new departments of law, philosophy,
management, psychology, political science, women’s studies, or human rights.

Authorities relied on university disciplinary committees to suspend, transfer, or
expel enrolled students based on social and political activism, involvement in
student publications, or participation in student associations. Student groups
reported that a “star” system inaugurated by the government in 2005 to rank
politically active students was still in use. Students deemed antigovernment
through this system reportedly were prevented from registering for future terms.
Repeated suspensions through this mechanism resulted in effectively denying the
rights of targeted students to complete or continue their studies. Numerous student
activists were expelled from their respective schools during the year for political
activities, including nonviolent protest. Student activists reported increased
crackdowns at universities, on both students and teachers, by security authorities in
the wake of the February protests. During the year Ministry of Intelligence agents
used threats, intimidation, and arrests to silence students who attempted to seek
accountability and legal justification for their deprivation from higher education.
For example, on March 2, the Shiraz University disciplinary committee suspended
more than 200 students for a minimum of two semesters for participating in a
commemoration of a classmate killed during the February protests.

Authorities continued to dismiss university professors in accordance with a 2006
presidential call for the removal of secular and liberal professors. To obtain tenure
professors had to refrain from criticizing authorities. According to the ICHRI,
university officials dismissed or forced the retirement of more than 50 university
faculty members in 2010 for their affiliation with or support of the Green
Movement. Universities across the country dismissed faculty throughout the year
for their roles in the 2009 postelection protests and ties to political opposition. As
a result university research was severely constrained. Professors must approach
topics such as the situation of women, feminism, minority history, and societal ills-
-such as drug abuse or domestic violence--from the government-sanctioned
“Islamic” perspective or risk punitive action, such as dismissal.

On May 29, according to IRNA, Minister of Science for Higher Education Kamran
Daneshjoo stated, “[T]he dignity of humans is not an absolute freedom, but it is
what one must do and must not do and if this is taken away, it will reach the
absolute freedom that animals have… [I]f universities do not move in the right
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path, they will present scientists to society, but anti-Islamic scientists are definitely
not needed in society.”

According to the ICHRI, on January 21, the classes of Mohamed Sharif, a lawyer
and legal professor for 25 years at Allameh Tabatabaee University, were cancelled
unexpectedly. Sharif was formally dismissed in early April from his faculty
position by the head of the university administration due to his representation of
human rights activists, including other previously dimissed university professors,
following the 2009 election protests.

In mid-March the Tehran University administration suspended Sajjad Rezaie, head
of its Islamic Association and a member of its art faculty, from his teaching duties
pending a ruling by the school’s disciplinary committee. Rezaie had told the
media that student Saneh Jaleh, who was shot and killed during the February 14
protests, was a member of Mousavi’s presidential campaign, not a Basij member as
had been reported (see section 1.a.).

The government strictly enforced laws relating to cultural events, and there was a
significant increase in the number of artists, actors, and filmmakers detained during
the year. The government banned some forms of music, including heavy metal,
and maintained stringent controls on cinema and theater. In June 2010 the
government announced a ban on music education in private schools, already
banned in public schools, and in August 2010 the media reported that the supreme
leader advised against the practice and teaching of music in general, although
music continued in the media at year’s end. The government continued to ban
broadcasting of certain music genres and continued to crack down on concerts and
underground music groups, such as heavy metal or similar foreign music,
considered religiously illegitimate.

On May 31, the regime censored the work of singer and composer Hossein Zaman,
whose latest album, Prison, included political and social themes deemed unfit for
distribution. The Ministry of Culture and Islamic Guidance also banned Zaman
from holding concerts in the country.

As the main source of production funding, the government effectively censored
domestic filmmaking. Producers were required to submit scripts and film
proposals to government officials in advance of funding approval. Movies
promoting secularism, feminism, unethical behavior, drug abuse, violence, or
alcoholism were illegal, and some domestic directors were blacklisted (restricted
and sanctioned). On December 11, the Ministry of Culture filed a lawsuit against
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the House of Cinema (IHC), the motion picture guild for the country, claiming that
the IHC had made amendments to their charter that had not been approved by the
government. On December 28, the Council of Public Culture declared the
organization illegal. The IHC said that these were false charges; at year’s end the
trial had not begun.

On June 26, security agents arrested women’s rights activist and documentary
filmmaker Mahnaz Mohammadi in her home. Mohammadi directed the film
Women without Shadows and other banned films and contributed to commentaries
about the country’s disputed 2009 presidential election. She was released on July
27 on one million toman ($1,000) bail.

On October 10, after being imprisoned for more than two months, actress Marzeih
Vafamehr was sentenced to an additional year in prison and 90 lashes for her role
in the now-banned movie My Tehran for Sale, which was critical of the regime and
in which she was not wearing a headscarf. Shargh newspaper reported that she
was released on October 26.

b. Freedom of Peaceful Assembly and Association

Freedom of Assembly

The constitution permits assemblies and marches “provided they do not violate the
principles of Islam.” In practice the government restricted freedom of assembly
and closely monitored gatherings to prevent antigovernment protests. Such
gatherings included public entertainment and lectures, student and women’s
meetings and protests, labor protests, online gatherings and networking, funeral
processions, and Friday prayer gatherings. According to activists, the government
arbitrarily applied rules governing permits to assemble, with conservative groups
rarely experiencing difficulty and groups viewed as critical of the government
experiencing harassment regardless of whether a permit was issued.

The government continued to prohibit and forcibly disperse peaceful
demonstrations during the year. Paramilitary organizations such as Ansar-e
Hizballah also harassed, beat, and intimidated those who demonstrated publicly for
reform. They particularly targeted university students.

Beginning February 8, security forces arrested more than 30 opposition activists in
anticipation of planned demonstrations in solidarity with protesters in Egypt and
Tunisia. Among those arrested according to opposition news outlets were
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Mohammed-Hossein Sharifzadegan, an official in former president Khatami’s
administration and Mousavi’s brother-in-law; Taghi Rahmani, a member of the
reformist Nationalist-Religious Movement; Yadollah Eslami, a former reformist
Majlis member; Korough Ziam, a member of the proreform National Front; and
Abdollah Naseri, a Khatami ally and member of the reformist Mojahedin of the
Islamic Revolution. Authorities released Sharifzadegan, Eslami, and Zaim after
more than a month in detention. Rahmani was freed on 150 million toman
($150,000) bail on September 21 but faced a ban on foreign travel. Authorities
also released Naseri, but on October 27, he was sentenced to five years in prison on
charges of “collusion” and “assembly” against the state.

Despite the arrests, nonviolent demonstrators protested in the streets of Tehran and
other cities in February and March to show support for prodemocracy movements
in neighboring countries and to protest the arrests and detention of opposition
leaders. The Basij forces reacted violently and forcibly cracked down on the
demonstrations, leading to hundreds of arrests and at least three deaths. In June
security forces again intimidated and suppressed demonstrators, this time marking
the two-year anniversary of the disputed 2009 presidential election. Multiple press
accounts reported scenes of police chasing protesters with clubs, deploying tear
gas, and making numerous arrests at a silent rally in Tehran.

In August and September authorities conducted mass arrests in the Azerbaijan
region following demonstrations by environmental activists protesting the
government’s poor management of Lake Urmiya, the world’s third-largest
saltwater lake. Sources told HRW that authorities arrested approximately 300
demonstrators in Tabriz on August 27, following protests and clashes with police.
On September 3, dozens of others were arrested in the region after local activists
called for additional demonstrations. At year’s end there was no information
regarding how many protesters had been released.

Freedom of Association

The constitution provides for the establishment of political parties, professional
associations, Islamic religious groups, and organizations for recognized religious
minorities, as long as such groups do not violate the principles of “freedom,
sovereignty, and national unity” or question Islam as the basis of the Islamic
Republic. The government limited freedom of association in practice through
threats, intimidation, imposing arbitrary requirements on organizations, and
arresting group leaders and members.
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On April 14, the Khabar Web site, affiliated with Majlis speaker Ali Larijani,
reported that the Majlis Committee for Political Parties Affairs had requested that
the prosecutor general of Tehran ban two reformist organizations, Mosharekat
Front and Revolutionary Mojahedin, due to their involvement in the 2009 election
protests. The heads of both organizations had been in custody since 2009.

At year’s end Mohsen Barzegar remained in Evin Prison (see section 1.e., Political
Prisoners and Detainees).

The government continued to exert significant pressure on members of the DHRC
(see section 5).

The journalists’ union and other labor-related groups also continued to face
problems during the year (see section 7.a.).

c. Freedom of Religion

See the Department of State’s International Religious Freedom Report at
www.state.gov/j/drl/irf/rpt.

d. Freedom of Movement, Internally Displaced Persons, Protection of
Refugees, and Stateless Persons

The constitution provides for freedom of movement within the country, foreign
travel, emigration, and repatriation. The government placed some restrictions on
these rights. The government cooperated with the Office of the UN High
Commissioner for Refugees (UNHCR) with regard to refugees from Afghanistan
and Iraq.

In-country Movement: Women faced difficulties traveling independently,
especially in rural areas, where they faced significant official and unofficial
harassment for traveling alone. Rural women’s freedom of movement outside the
home or village was particularly restricted, often requiring a male guardian’s
permission or a male chaperone.

Foreign Travel: The government required exit permits for foreign travel for all
citizens. Some citizens, particularly those whose skills were in demand and who
were educated at government expense, had to post bond to obtain an exit permit.
The government also restricted foreign travel of some religious leaders and
members of religious minorities and scientists in sensitive fields. It also
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increasingly targeted journalists, academics, opposition politicians, and activists--
including women’s rights activists--for travel bans and passport confiscation
during the year.

In January, for example, authorities banned Mohammad Baqer Qalibaf, the mayor
of Tehran, from traveling to the United States to receive an award for advancing
sustainable transportation. In March authorities banned former president
Mohammad Khatami from traveling to Ireland to attend a political seminar.

A woman must have the permission of her husband, father, or other male relative
to obtain a passport. A married woman must receive written permission from her
husband before she leaves the country.

Exile: The government did not use forced external exile, but many dissidents
practiced self-imposed exile to be able to express their beliefs freely. In additon
the government often placed prisoners in facilities far from their homes to prevent
family visits; they called this placement “exile.”

Protection of Refugees

Access to Asylum: The country’s laws provide means for granting asylum or
refugee status to qualified applicants. While the government reportedly had a
system for providing protection to refugees, the UNHCR did not have any
information as to how the country made asylum determinations.

Refugee Abuse: According to reports, 30 provinces were partially or fully closed
to refugees. Authorities generally required registered Afghan refugees in these
“no-go areas” to choose either to relocate to refugee settlements, sometimes in
other parts of the country, or to repatriate. In 2010-11 approximately 24,000
Afghans voluntarily repatriated; however, the vast majority said they were under
pressure to return due to the government’s no-go areas policy as well as from fear
of the government. During the year the government executed dozens of
undocumented Afghans, predominantly on drug-related charges and often without
due process.

Employment: Registered refugees were able to obtain permits to work in the
country. According to the UNHCR, in June the authorities extended the validity of
Amayesh residency permits to one year and linked them to the issuance of work
permits for Afghan refugees.
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Access to Basic Services: Registered refugees received free primary health care
from the Ministry of Health with UNHCR support. In May the UNHCR launched
a health insurance plan to help refugees maintain access to secondary and tertiary
medical care as costs rise. Some asylum seekers did not have identification cards
and were unable to benefit from basic government subsidies for food, health care,
insurance, and housing. According to the UNHCR, in June authorities began
reregistering Afghan refugees, extending the validity of their identification cards to
one year. The government also identified vulnerable refugees to be granted
exemptions from payment of municipality taxes and school tuition fees, which are
normally obligatory without exceptions.

Stateless Persons

Women cannot directly transmit citizenship to their children or to a noncitizen
spouse. According to media reports, there were officially 30,000 female citizens
married to Afghan men, although the unofficial number was likely much higher.
As a result there were more than 32,000 children not recognized by the
government and without identification cards, making them effectively stateless and
barred from receiving government support, education, health care, or travel
documents (see section 6, Children).

Section 3. Respect for Political Rights: The Right of Citizens to Change Their
Government

The constitution provides citizens the right to peacefully change the president and
the Majlis through free and fair elections, but the authority of unelected
representatives over the election process severely abridged this right in practice.
The Assembly of Experts elects the supreme leader, the recognized head of state,
who may be removed only by a vote of the assembly. The supreme leader
exercises influence over the government appointments of the 12 clerics and
religious jurists who make up the Guardian Council. The Guardian Council then
approves the list of candidates for the Assembly of Experts, whose 86 members
must also be clerics, who serve eight-year terms and are chosen by popular vote.
There was no separation of state and religion, and clerics had significant influence
in the government. The supreme leader also approved presidential candidates.

Elections and Political Participation

Recent Elections: In 2009 the country held a presidential election, which outside
observers regarded as neither free nor fair. International observers were not
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allowed entry to monitor the election results. The Guardian Council approved only
four of more than 450 prospective candidates, including 42 women and former
officials. No women were approved to run as candidates. Authorities increased
censorship and surveillance during the campaign, blocking cellular telephone
signals and access to social networking and opposition Web sites. The government
also harassed and arbitrarily arrested political activists, members of the country’s
religious and ethnic minority communities, students, trade unionists, and women’s
rights activists during the preelection period (see section 1.e., Political Prisoners
and Detainees). Anecdotal evidence suggested that authorities forced some
election observers representing opposition candidates to leave polling stations and
that millions of unused paper ballots disappeared. Before all polls closed and
ballot counting had commenced, government-controlled media announced that
President Ahmadinejad had been reelected in the first round of elections, obtaining
a majority of the votes. Contrary to the election law, Khamenei approved the
election results before the Guardian Council certified the election and before the
Interior Ministry announced the final results. Independent analysts studied election
data and concluded there were a number of irregularities, including at least two
provinces showing a turnout of more than 100 percent in some districts and the
absence of longstanding regional variations in turnout, which appeared abnormal
despite regulations that allow voters to use any polling station. On November 20,
Ali Saeedi, the supreme leader’s representative to the IRGC, reportedly stated that
those who challenged the 2009 election results were “worthy of death” and that the
IRGC and the Basij should not have “any hesitations” about crushing them.

Majlis elections were scheduled for March 2012. In preparation for the elections,
the government increased actions and rhetoric against the opposition. In a January
5 press statement, the chief of the Guardian Council, Ayatollah Ahmad Jannati,
stated that it was better for the opposition to “stay out of the political arena.” He
further stated on February 11 in a public address on the anniversary of the 1979
Islamic Revolution that the council “will not allow any unsavory individuals to
obtain the smallest position in the country, regardless of their popularity.”

Political Parties: The constitution allows for the formation of political parties;
however, the Interior Ministry granted licenses only to parties with ideological and
practical adherence to the system of government embodied in the constitution.
There were more than 230 registered political organizations that generally operated
without restriction or outside interference, but most were small entities, often
focused around an individual, and did not have nationwide membership. Members
of political parties and individuals with any political affiliation that the government
deemed unacceptable faced harassment, violence, and sometimes imprisonment.
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Reformist university students and professors faced dismissal (see section 2.a.,
Academic Freedom and Cultural Events).

The government banned several opposition organizations and political parties
during the year. For example, in March authorities banned the Assembly of
Lecturers and Scholars of Qom Seminary, a clerical organization formed by
supporters of former reformist president Mohammad Khatami. Also, on
November 4, the election office banned three reformist political parties from
participating in the March 2012 legislative elections. The Islamic Participation
Front, Islamic Revolution Mujaheddin Organization, and Freedom Movement of
Iran allegedly did not have the licenses required to run for the Majlis. The Islamic
Participation Front and the Islamic Revolution Mujaheddin Organization were
banned in September 2010 after they protested the controversial results from the
2009 presidential elections.

Security officials continued a campaign of harassment, intimidation, and arrests
against members of the political opposition (see also section 1.e., Political
Prisoners and Detainees). Many analysts indicated such tactics were carried out in
an effort to further stifle dissent in advance of the anticipated March 2012 Majlis
elections.

For example, on November 3, authorities arrested Mohammad Tavassoli, head of
the political bureau of the Freedom Movement in connection with an October 15
letter to Mohammad Khatami, signed by 143 political activists, warning Khatami
about their lack of hope for free or fair elections. Tavassoli, a former mayor of
Tehran, was previously arrested after the disputed 2009 elections. Relatives told
the ICHRI that authorities were pressuring Tavassoli’s relatives not to talk to the
media about him. At year’s end he was being held incommunicado.

Former presidential candidates Mehdi Karroubi and Mir Hossein Mousavi were
being held under de facto house arrest since 2009 (see section 1.d., Arbitrary
Arrest and Detention).

Participation of Women and Minorities: According to the Guardian Council’s
interpretation, the constitution barred women and persons of non-Iranian origin or
religions other than Shia Islam from becoming president or from running in
parliament. Women were also barred from serving as supreme leader; as members
of the Assembly of Experts, Guardian Council, or Expediency Council (a body
responsible for mediating between the Majlis and the Guardian Council and
serving as a consultative council for the supreme leader); and as certain types of
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judges (see section 6, Women). On November 20, ISNA reported that Minou
Kianirad was appointed the first female deputy governor of the central bank since
the 1979 revolution. Four women served in the cabinet: the vice presidents for
legal affairs and science and technology, the minister of health, and the head of the
National Youth Organization. Eight women, in a total of 290 seats, served in the
Majlis during the year.

Five Majlis seats were reserved for recognized religious minorities. Other ethnic
minorities in the Majlis included Arabs and Kurds. There were no non-Muslims in
the cabinet or on the Supreme Court.

Section 4. Official Corruption and Government Transparency

The law provides criminal penalties for official corruption, but the government did
not implement the law effectively, and official corruption and impunity remained a
serious and ubiquitous problem in all three branches of government. Many
officials expected bribes for providing even routine service. Individuals routinely
bribed officials to obtain permits for illegal construction.

According to Freedom House, the hardline clerical establishment grew wealthier
through its control of “bonyads,” tax-exempt foundations that monopolize many
sectors of the economy, such as cement and sugar production. Bonyads receive
benefits from the government but are not required to have their budgets publicly
approved.

All government officials, including cabinet ministers and members of the Guardian
Council, Expediency Council, and Assembly of Experts, were required to submit
annual financial statements to the state inspectorate. There was no information
available regarding whether these officials obeyed the law.

Numerous government agencies existed to fight corruption, including the
Anticorruption Headquarters, Anticorruption Task Force, Committee to Fight
Economic Corruption, and General Inspection Organization.

The IRGC operated numerous front companies that were engaged in illicit trade
and business activities. The IRGC includes a construction arm (Khatam ol-
Anbiya) that had extensive economic operations and ties to the oil sector and
benefited from corruption within that sector. The IRGC also had economic
interests in the telecommunications, construction, and mining sectors and direct
access to the country’s foreign exchange reserves.
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On July 31, Ahmad Ghaleh Bani, director of the National Iranian Oil Company and
deputy oil minister, stated that Khatam ol-Anbiya had been awarded approximately
2.5 trillion toman ($2.5 billion) in contracts to develop the country’s oil and gas
sector since 2009 and that most of these contracts were awarded without bidding,
according to numerous press accounts. On August 3, the Majlis approved
President Ahmadinejad’s choice, Rostam Qassemi, to be the new oil minister; he
previously served as the head of Khatam ol-Anbiya. This appointment resulted in
additional no-bid contract awards for Khatam ol-Anbiya.

The oil sector was embroiled in financial scandal throughout the year. In May
opposition Web sites reported that on March 10, Khamenei decreed that all oil and
gas contracts would be awarded by Petro Nahad, a new entity established within
his office and not subject to parliamentary or regulatory oversight. All revenues
would be deposited into an account belonging to that organization. Further,
according to these reports, all administrative and financial decisions of Petro
Nahad were to be controlled by a three-person board of directors, whose members
included Khamenei’s son, Mojtaba Khamenei, and Gholamali Haddad Adel, a
member of the Expediency Council and Mojtaba’s father-in-law.

On March 18, reformist publications reported the alleged disappearance of 124
billion toman ($124 million) in oil revenues from government foreign exchange
reserves. According to reports, Majlis members formed a commission to
investigate what had become of some 48 billion toman ($48 million) in missing oil
revenues from the state-owned petroleum sector. Another 68 billion toman ($68
million) in receivables from foreign oil purchasers had disappeared as well,
according to a member of the Majlis Energy Committee. There were no updates
on the status of this investigation or any reports stemming from it by year’s end.

The banking sector was also plagued by scandal and corruption during the year. In
September the media uncovered the embezzlement of 2.6 trillion toman ($2.6
billion) during a two-year period by the financial conglomerate Amir Mansour
Arya Investment Development Company, established in 2004 with $50,000 in
capital. The owners of the organization obtained allegedly falsified letters of credit
to obtain additional financing. The Arya Group was accused of using the loans to
purchase assets of privatized state-owned enterprises.

On October 30, a member of the Majlis investigative commission read its report on
the banking scandal in open session and sent it to the judiciary for prosecution of
those found guilty of crimes. Although the report did not shed new light on the
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investigation, it suggested the deputy minister of economic affairs and the deputy
head of the Central Bank were the two highest-level officials responsible for the
affair and should either be fired or resign. On November 28, the chief prosecutor
stated that more than 50 suspects had been indicted and that 40 companies had
been found to harbor unreported debts and irregularities connected with the fraud.
By year’s end at least 48 people had been arrested in connection with the case,
including the son of President Ahmadinejad’s chief of staff and the deputy head of
the Central Bank, Hamid Pourmohammadi. In addition, a deputy minister of
finance and economy, Asghar Abolhassani Hastiani, was forced to resign; the chief
executive officer of Bank Melli, Mahmoud Reza Khavari, resigned and fled to
Canada; and the head of Bank Saderat, Mohammad Jahromi, resigned. Minister of
Economy Shamsoddin Hosseini survived a Majlis impeachment vote on November
1.

On October 31, the Majlis Social Security Investigative Committee reported
further financial violations. Chairman Soleiman Jafarzadeh said his committee had
unearthed financial violations totaling one trillion toman ($1 billion) at 150
subsidiaries of the Social Security Investment Company, which managed the
Social Security Investment Fund and the Civil Servants Pension Fund. At year’s
end no action had been taken on this report.

First Vice President Mohammad Reza Rahimi remained in his position, although
an investigation into his alleged corruption continued.

There were no laws providing for public access to government information.

Section 5. Governmental Attitude Regarding International and
Nongovernmental Investigation of Alleged Violations of Human Rights

The government restricted the work of human rights groups and activists and often
responded to their inquiries and reports with harassment, arrests, monitoring,
unlawful raids, and closures (see also sections 1.d., 1.e., 2.a., 6, and 7). The
government continued to deny the universality of human rights and stated that
human rights issues should be viewed in the context of a country’s “culture and
beliefs.”

Hundreds of domestic NGOs focused on issues such as health and population,
women’s rights, development, disability, youth, environmental protection, human
rights, minority rights, and sustainable development, despite the restrictive
environment, including pressure not to accept foreign grants. Professional groups
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representing writers, journalists, photographers, and others attempted to monitor
government restrictions in their respective fields, as well as harassment and
intimidation against individual members of their professions. Under the law NGOs
must register with the Interior Ministry and apply for permission to receive foreign
grants. According to various sources, independent human rights groups and other
NGOs faced intensifying harassment and threat of closure from government
officials as a result of prolonged and often arbitrary delays in obtaining official
registration.

During the year the government prevented human rights defenders, civil society
activists, journalists, and scholars from traveling abroad (see section 2.d.). Human
rights activists reported receiving intimidating phone calls and threats of blackmail
from unidentified law enforcement and government officials. Government
officials routinely harassed and sometimes arrested family members of human
rights activists (see section 1.f.). Courts routinely applied suspended sentences to
human rights activists; this form of sentencing acted as de facto probation, leaving
open the option for authorities to suddenly and arbitrarily arrest or imprison
individuals. This threat was sometimes enough to silence activists or pressure
them into providing information about other activists.

The government continued to exert significant pressure on the DHRC, an NGO
headed by Nobel Peace Prize laureate Shirin Ebadi, and systematically harassed,
arrested, and prosecuted lawyers and others affiliated with the organization.
According to media reports in November, at least 40 lawyers had been arrested and
imprisoned since the 2009 postelection protests. For example, on March 14,
according to an interview with the BBC Persian service, Branch 26 of the
Revolutionary Court sentenced Abdolreza Tajik, a journalist who prepared reports
for the DHRC, to five years in prison for his membership in the organization and
an additional one-year prison term for “propaganda against the regime.” At year’s
end he remained in prison. On July 3, according to various human rights groups,
Branch 15 of the Revolutionary Court sentenced Mohammad-Ali Dadkhah, a
DHRC member and an attorney for several political activists, to nine years in
prison, a 10-year ban from practicing as an attorney or teaching at a university, and
five lashes. The charges against him included “propaganda against the regime”
and “distortion of members of the regime,” as well as owning an illegal satellite
dish. However, at year’s end Dadkhah reportedly continued to practice law. On
September 10, security forces arrested DHRC founding member Abdolfattah
Soltani, and at year’s end he remained in prison (see section 1.f.). On September
28, Branch 26 of the Revolutionary Court in Tehran sentenced Narges
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Mohammadi, the DHRC’s executive chairperson, to 11 years in prison for
“propaganda against the regime.” At year’s end she remained in prison.

Despite numerous appeals, including from the UN, the government denied requests
from all international human rights NGOs to establish offices in, or conduct regular
investigative visits to, the country. The last visit by an international human rights
NGO was AI’s 2004 visit as part of the EU’s human rights dialogue with the
country.

UN and Other International Bodies: The International Committee of the Red Cross
and the UNHCR both operated in the country with some restrictions. The last visit
by a UN human rights agency was in 2005. The government generally ignored
recommendations these bodies made and failed to submit required reports to the
UNHRC or the UN Committee on Economic, Social, and Cultural Rights. The
government ignored repeated requests for visits by UN special rapporteurs.

In March the UNHRC adopted a resolution establishing a new special procedure
country mandate, which established a human rights rapporteur for the country. On
June 17, the UNHRC appointed Ahmed Shaheed as the special rapporteur to fulfill
the mandate; he officially commenced on August 1. The government repeatedly
denied Shaheed’s requests to visit the country, preventing him from traveling to the
country during the year. Iranian officials denounced his report as “one-sided,”
outdated, and speculative, and they ignored his repeated calls for cooperation and
access. The government undertook a media campaign during the year to
undermine the mandate of the special rapporteur, including a Web site mimicking
the women’s rights-focused One Million Signatures campaign but actually
advocating opposition to the special rapporteur. The government also publicly
criticized the report and the special rapporteur in the media frequently, along with
the September report of the UN secretary-general condemning the depth and
breadth of human rights abuses in the country.

On December 19, for the ninth consecutive year, the UN General Assembly
adopted a resolution expressing concern about the country’s “serious ongoing and
recurring human rights violations.”

Government Human Rights Bodies: The governmental High Council for Human
Rights was headed by Mohammad Javad Larijani, the brother of Ali Larijani,
speaker of the parliament, and Sadeq Larijani, head of the judiciary. The High
Council is not an independent body; it is part of the judiciary. Larijani, a former
Majlis member, was also an adviser to the supreme leader. The High Council in
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practice defended court rulings regarding imprisoned human rights activists,
defenders, and opposition leaders throughout the year, despite domestic and
international pressure. It did not establish any independent inquiries into 2009
postelection protest violence, and there was no instance of it challenging any laws
or court rulings during the year. During the year Larijani defended the arrest and
imprisonment of several high-profile human rights defenders, including
Abdolfattah Soltani, and the house arrest of opposition leaders Mousavi and
Karroubi at the UN and in media interviews on numerous occasions.

Section 6. Discrimination, Societal Abuses, and Trafficking in Persons

Although the constitution formally prohibits discrimination based on race, gender,
disability, language, and social status “in conformity with Islamic criteria,” the
government did not effectively enforce these prohibitions. The government
increased gender segregation and discrimination against women throughout the
year.

Women

Rape and Domestic Violence: Rape is illegal and subject to strict penalties
including execution, but it remained a problem, and the government did not
enforce the law effectively. There were reports of government forces raping
individuals in custody (see sections 1.a. and 1.c.). Sex within marriage is
considered to be consensual by definition, and therefore spousal rape is not illegal.
Cases of rape were difficult to document due to social stigma against the victims.
Most rape victims did not report the crime to authorities because they feared
punishment for having been raped, as they could be charged with adultery for
being in the presence of an unrelated male while unaccompanied, indecency, or
immoral behavior. They also feared societal reprisal such as ostracism. According
to the penal code, rape is a capital offense, and four Muslim male witnesses or a
combination of three male and two female witnesses to the rape itself are required
for conviction. The stringent witness requirement was also a possible reason for
low reporting of rape to authorities. A woman or man found making a false
accusation of rape is subject to 80 lashes.

According to the BBC, during the yearthere were several high-profile gang rapes.
In one case, near the city of Isfahan, more than a dozen armed men reportedly
entered a small private party, locked the men in a room, and took the women to an
adjacent property and raped them at knifepoint. Four attackers were later arrested,
but the town’s police commander reportedly stated, “I believe the raped women’s
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families are to blame, because if they had proper clothing and if the sound of their
music was not so loud, the rapists would not have imagined it as a depraved get-
together.” Reports indicated the victims may have faced legal action. At year’s
end there was no public information on whether charges had been filed against the
alleged attackers.

The law does not specifically prohibit domestic violence. Spousal abuse and
violence against women was common. On November 4, the UNHRC issued a
statement condemning the lack of laws protecting women from domestic violence
as well as the lack of investigation, prosecution, and punishment of perpetrators of
domestic violence. The Census Bureau, an official government agency, has
precluded international organizations from performing studies of domestic
violence in the country and has never conducted its own study of violence against
women.

The director of the Iranian National Social Emergency Unit, physician Majid
Arjomandi, told Pupils Association News Agency on November 1 that there were
approximately 8,000 domestic violence cases reported to his organization.
According to a University of Tehran study published on June 15, a woman is
physically abused every nine seconds in the country, and an estimated three to four
million women are battered each year by their husbands. One of every two
marriages had at least one instance of domestic violence. Abuse in the family was
considered a private matter and seldom discussed publicly, although there were
some efforts to change this attitude, particularly by the One Million Signatures
campaign. Some nongovernmental shelters and hotlines assisted victims during
the year.

Harmful Traditional Practices: According to the law, if a father or paternal
grandfather kills his child or grandchild, he will not be convicted and punished for
murder. The law also permits a man to kill his adulterous wife and her consorts if
he is certain she consented. Women convicted of adultery may also be sentenced
to death, including by stoning. There were no official reports of honor killings
during the year, although human rights activists stated that they often occurred out
of the public eye. There were also no reports of women being stoned for adultery,
although there were women imprisoned for adultery during the year.

Sexual Harassment: There are laws addressing sexual harassment in the context of
physical contact between men and women; however, these laws are not victim-
oriented and are biased against women. Physical contact between unrelated men
and women is strictly prohibited and is punishable by lashing. There was a lack of
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reliable data on the prevalence of sexual harassment in the country. Media reports
indicated that unwanted physical contact and verbal harassment occurred.
Government officials, however, often blamed women’s sexuality for problems in
society. For example, in April 2010 cleric Kazem Sadighi stated, “Many of the
ladies who do not have a proper appearance cause the hearts of the youth to be
swayed and they become defiled by sin, and this leads to the spread of adultery in
society, which increases earthquakes.”

Reproductive Rights: The law recognizes the basic right of married couples to
decide freely and responsibly the spacing and timing of their first three children
and have the information and means to do so free from discrimination, coercion,
and violence. According to the law, health and maternity benefits are cut for the
family after three children. There were no restrictions on the right of married
persons to access contraceptives. It is illegal for a single woman to access
contraception, although in practice women had access, particularly in urban areas.
Couples who plan to marry must take a class in family planning. Men and women
received equal access to diagnosis and treatment of sexually transmitted infections,
including HIV. However, women requested testing less regularly than men, likely
because of social stigma attached to doing so.

Discrimination: The constitution nominally provides women with equal protection
under the law and all human, political, economic, social, and cultural rights in
conformity with Islam; however, provisions in the Islamic civil and penal codes--
based on Sharia--particularly sections dealing with family and property law,
discriminate against women. Societal discrimination also restricted women’s
economic, social, and cultural rights. The governmental Center for Women and
Family continued to publish reports on feminism with a very religious conservative
slant and limited the debate on women’s issues to matters related to the home.
Ideas contrary to the government or to its interpretation of Islam were not raised by
the center.

Women cannot directly transmit citizenship to their children or to a noncitizen
spouse (see section 6, Children). According to media reports, there were officially
30,000 female citizens married to Afghan men, although the unofficial number was
likely much higher (see section 2.d., Stateless Persons).

The government does not recognize marriages between Muslim women and non-
Muslim men, irrespective of their citizenship.
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The law states that a virgin woman or girl wishing to wed needs the consent of her
father or grandfather or the court’s permission, even if she is older than 18.

The law permits a man to have as many as four wives and an unlimited number of
“sigheh,” based on a Shia custom in which a woman may become the wife of a
Muslim man after a simple religious ceremony and a civil contract outlining the
union’s conditions. Sigheh wives and any resulting children are not granted rights
associated with traditional marriage.

A woman has the right to divorce only if her husband signs a contract granting that
right, cannot provide for his family, or is a drug addict, insane, or impotent. A
husband is not required to cite a reason for divorcing his wife. Traditional
interpretations of Islamic law recognize a divorced woman’s right to part of shared
property and to alimony. These laws were not enforced. On June 21, the Supreme
Court voted in favor of a law allowing women to withhold sex from their husbands
if the husbands refuse to pay alimony. (Under the law alimony can be requested
during the marriage as well as after a divorce.) According to ISNA, if the alimony
is not paid, the wife can “reject all legal and religious obligations” to her husband.
If the alimony is not paid after the divorce, the woman can sue her ex-husband in
court. Despite this new ruling, the ability of a woman to seek divorce was still
extremely limited in practice.

The law provides divorced women preference in custody for children up to age
seven; divorced women who remarry must give the child’s father custody. After
the child reaches age seven, the father is entitled to custody (unless the father has
been proven unfit to care for the child). The court determines custody in disputed
cases.

Women sometimes received disproportionate punishment for crimes such as
adultery, including death sentences (see sections 1.a. and 1.e., Trial Procedures).
The testimony of two women is equal to that of one man. The blood money paid
to the family of a female crime victim is half the sum paid for a man.

Women had access to primary and advanced education, and approximately 65
percent of university students were women. Government officials acknowledged
the use of quotas to limit women’s university admissions in certain fields such as
medicine and engineering.

Social and legal constraints limited women’s professional opportunities. Women
were represented in many fields, including the legislature, municipal councils,
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police, and firefighters, but a woman must seek her husband’s consent before
working outside the home. Despite the high prevalence of women in universities,
the unemployment rate for women was nearly triple that of their male counterparts.
According to the World Economic Forum’s 2011 report on the global gender gap,
women in the country earned on average two-thirds of a man’s salary for the same
job. One Majlis member suggested that banning women from the workplace could
solve the country’s unemployment problems. Women cannot serve in many high-
level political positions or as judges except as consultant or research judges
without the power to impose sentences.

Women faced discrimination in home and property ownership, as well as access to
financing. On September 14, a major contruction development company, Mehr
Housing, began refusing to allow women to buy property, requiring their
husbands’ name to be on the deed and mortgage.

The government enforced gender segregation in most public spaces, including for
patients during medical care, and prohibited women from mixing openly with
unmarried men or men not related to them. Women must ride in a reserved section
on public buses and enter public buildings, universities, and airports through
separate entrances. In a sermon honoring Fatemeh Zahra, daughter of the Prophet
Mohammad, on May 5, grand ayatollah and Shiite legal authority Safi Golpaygani
stated, “In the optimal situation, a woman will not see any other man except her
husband.” He added that such contact is “most unfortunate” and that the mingling
of women and men is so prevalent that it leads to mental illness and moral
corruption.

On July 3, Greater Tehran Law Enforcement Forces commander Hossein Sajedinia
announced that, from July 11, women would not be allowed into coffee houses that
provide water pipes. He stated the new measure had been decided “after repeated
requests from the people, particularly families.” Enforcement of morality laws
became stricter after new “morality patrols” were deployed on June 15. Sajedinia
threatened coffee house owners with prosecution if they did not adhere to the new
code. On October 26, the Skating Federation announced that the country’s roller
skating tracks would be gender segregated and that female skaters who disregarded
Islamic dress codes would be disciplined by authorities. On November 1,
according to Shahrzad News, the Health Ministry relaunched an initiative to
gender-segregate hospitals. According to the deputy health minister for patient
care, Hasan Emami Razavi, “Every province will have a major general hospital for
women only... [T]he one problem we have is that there are not enough women to
drive the emergency ambulances.” On November 14, police issued a directive
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banning women from skiing unaccompanied. Under the new measure, girls under
18 must be on the ski slopes with a parent, and those over 18 must be accompanied
by their husbands.

For the first time, boys and girls had to sit in separate classrooms at universities
when the new school year began in October. Majlis member Ali Karimi-Firouzjai,
a member of the Majlis Education and Research Committee, stated: “The higher
education minister has announced that some universities will hold separate courses
for males and females in the new academic year. The grand ayatollahs and the
families have warned against any contact between students of opposite sexes.”

The penal code provides that a woman who appears in public without an
appropriate hijab can be sentenced to lashings and fined. However, absent a clear
legal definition of “appropriate hijab” or the punishment, women were subject to
the opinions of disciplinary forces or judges. Pictures of uncovered or
“immodestly” dressed women in the media or in films were often digitally altered.

According to the UN secretary-general’s report on the situation of human rights in
the country, on May 9, the commander of the morality police forces disclosed that
thousands of morality personnel had been deployed across the country to
implement the moral security plan. On June 10, Ahmadreza Radan, deputy
commander of the police force, announced that June 15 would usher in a new drive
against un-Islamic female dress. Radan’s plan was expected to crack down harder
on inappropriate public dress and dole out harder punishments for women that did
not comply. According to the new rules, women who fail to comply with the
harsher dress code standards will be imprisoned between 10 days to two months.
Under these rules female students are banned from wearing bright clothes, having
long nails or tattoos, wearing caps or hats without scarves, and wearing tight jeans
or shorts.

The government continued its intense crackdown against members of the OMSC,
which activists launched in 2006 to promote women’s rights, particularly by
advocating reform of discriminatory laws. Several OMSC members remained
under suspended prison sentences and travel bans, were in prison, or were in self-
imposed exile at year’s end. For example, on May 11, security forces from the
Intelligence Ministry arrested Mayram Bahreman, a civil society activist involved
in the defense of women’s rights. Bahreman had been active in the OMSC in
Shiraz. She was arrested along with Mahoubeh Karami (see below).
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There were developments in several cases from previous years. In February,
according to the Observatory for the Protection of Human Rights Defenders,
Branch 54 of the Appeal Court of Tehran sentenced Mahoubeh Karami to three
years’ imprisonment on charges of “membership in a human rights activists
association” and “propaganda against the regime.” On May 15, after being
rearrested, she entered Evin Prison, where she remained at year’s end.

In March 2010, according to the RAHANA, Branch 15 of the Revolutionary Court
acquitted Khadijeh Moghaddam on two counts of “propaganda activity against the
regime” and disobeying police orders but sentenced her to a one-year suspended
prison term for assembly and conspiracy with intent to act against national
security. On December 18, she received a human rights award from the city of
Bochum, Germany, for her work as a women’s rights activist and member of
Mothers of Laleh Park, Mothers for Peace, and the OMSC. At year’s end
Moghaddam was living in exile in Germany. In 2009 security forces detained
Moghaddam for approximately one month with 11 other members from the OMSC
and the NGO Mothers for Peace, including Mahboubeh Karami and Maryam
Bahreman, as the group met to make traditional Nowruz (New Year) visits to
families of several political prisoners. The ICHRI suggested that security and
intelligence forces eavesdropped on the activists’ private communications to
apprehend them. Bahreman was arrested May 11 and released on 250 million
toman ($250,000) bail September 15. Karami was arrested in March 2010 and
detained for 170 days. On February 11, Karami was sentenced to three years in
prison by Branch 54 of the appellate court of the Revolutionary Courts by Judge
Movahed. Karami was charged with membership in a human rights organization,
spreading of “propaganda against the regime,” and gathering and colluding with
the “intent of harming national security.” She was arrested on May 15 to begin
serving her three-year sentence. She was reportedly in poor health in Evin Prison
and at risk of falling into a coma from her untreated anemia.

Children

Birth Registration: Citizenship is derived from a child's father, regardless of the
child’s country of birth. In general, birth within the country’s borders does not
confer citizenship except when a child is born to unknown parents; when both
parents are noncitizens, but at least one parent was born in the country; or when a
child born to noncitizens continues to reside in the country for at least one year
after age 18. The birth registration law requires that all births be registered within
15 days. According to UNICEF, 13 percent of births were not reported in 2005;
more recent statistics available were not available.
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Education: Although primary schooling up to age 11 is free and compulsory for
all, the media and other sources reported lower enrollment in rural areas for girls
than for boys. This gender disparity is largely due to cultural differences from the
urban centers, lower education among the parents, and stronger religious influence.
More than 25 percent of refugee children of primary school age were not enrolled
in school either due to the lack of identification cards or available places in schools
(see section 2.d., Protection of Refugees and Stateless Persons).

Child Abuse: There was little information available to reflect how the government
dealt with child abuse. Abuse was largely regarded as a private family matter.
According to ISNA, more than 7,000 cases of child abuse were officially reported
during the year. On December 13, the managing director of the Office for
Protection of Vulnerable Citizens stated that his office received calls from more
than 215,000 persons during the year, of which approximately 93,000 were calls
directly from victims and an additional 47,000 were by medical professionals who
treated emergency cases. In May 2010 the government announced that
approximately 150,000 cases of child abuse had been recorded in the six months
prior. A prominent attorney noted that the government did little to address the
problem.

Child Marriage: The law requires court approval for the marriage of girls younger
than 13 and boys younger than 15, but it was reportedly not unusual in rural areas
for parents to have their children marry before they became teenagers, often for
economic reasons. The age of criminal responsibility for girls is nine years, while
the law does not consider boys criminally responsible until age 15. For example, if
a 12-year-old girl accused a 14-year-old boy of rape, the 12-year-old girl would
face any criminal penalties alone. Sex outside of marriage is illegal and is
punishable by death, although the media reported that the common punishment
was imprisonment and lashing. In December the director general of the Census
Bureau in Hormozgan announced that there had been five marriages of girls under
age 10 in his province. The government did not investigate these cases or begin
any prevention campaigns, as these marriages were not considered illegal.

Sexual Exploitation of Children: Sex is considered consensual if it is within the
confines of marriage. As such, the age requirements for marriage apply to
consensual sex. The law prohibits all forms of pornography, including child
pornography.
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Children were trafficked within the country for commercial sexual exploitation,
sometimes through forced marriages in which girls’ new “husbands” forced them
into prostitution and involuntary servitude as beggars or laborers to pay debts,
provide income, or support drug addiction of their families. The government did
not report any law enforcement efforts during the year to punish trafficking
offenders and continued to lack any victim protection measures. Foreign victims
of trafficking are, by government policy, detained and deported; citizens are either
jailed or turned away by the police when they attempt to seek protection. The
government made no discernible efforts to address the widespread government
corruption that facilitated trafficking.

Child Soldiers: According to a March 12 article in The Guardian, human rights
activists including the ICHRI reported that the government deployed child soldiers
between the ages of 12 and 16 to attack opposition demonstrators beginning on
March 1. The youths, whose accents led witnesses to say they had been shipped
into Tehran from rural areas, were armed with clubs, batons, and air guns.

Displaced Children: There were reportedly significant numbers of children
working as street vendors in Tehran and other cities and not attending school.
International media sources reported there were as many as 250,000 street children
in the country.

International Child Abduction: The country is not a party to the 1980 Hague
Convention on the Civil Aspects of International Child Abduction. For
information see the Department of State’s report on compliance at
travel.state.gov/abduction/resources/congressreport/congressreport_4308.html, as
well as country-specific information at
travel.state.gov/abduction/country/country_3781.html.

Anti-Semitism

The government’s anti-Israel stance, in particular the president’s repeated speeches
decrying the existence of Israel and calling for the destruction of its “Zionist
regime,” created a threatening atmosphere for the 25,000-person Jewish
community. For instance, during the fifth annual “Conference in Support of the
Palestinian Intifada,” the president echoed his previous comment that Israel was a
“cancerous tumor” that was impacting the entire world. On October 1, alongside
the start of this conference, Khamenei announced the publication of his new book
in which he states, “Israel is a country with no origin or provenance--a fake
country, a false nation…Wherever evil Jews existed, they were gathered together
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[and sent] there to [Palestine].” Government officials continued to make anti-
Semitic statements, organize events designed to deny the Holocaust, and sanction
anti-Semitic propaganda. The government also limited distribution of nonreligious
Hebrew texts and required Jewish schools to remain open on the Jewish Sabbath.

Trafficking in Persons

See the Department of State’s Trafficking in Persons Report at
www.state.gov/j/tip.

Persons with Disabilities

The law generally prohibits discrimination against persons with disabilities by
government actors, with some notable exceptions. For example, the laws did not
apply to private actors, and the electoral laws prohibit blind and deaf individuals
from running for parliament. While the law provides for state-funded vocational
education for persons with disabilities, according to domestic news reports,
vocational centers were confined to urban areas and unable to meet the needs of
the entire population. There are laws ensuring public accessibility concerning
government-funded buildings, and new structures appeared to have high-level
access for physically disabled individuals. There also were efforts to increase
accessibility of historical sites. However, government buildings themselves
remained largely inaccessible, and general building accessibility for persons with
disabilities remained a widespread problem. There was limited access to
information, education, and community activities by persons with disabilities in the
country.

With respect to the prohibition of blind and deaf individuals running for the Majlis,
the Shahrzad News reported on November 14 that 67 Majlis members requested
permission to bring a floor debate on the issue, but their motion was denied.

The Welfare Organization of Iran is the principle governmental agency charged
with protecting the rights of persons with disabilities.

National/Racial/Ethnic Minorities

The constitution grants equal rights to all ethnic minorities and allows for minority
languages to be used in the media and in schools. In practice minorities did not
enjoy equal rights, and the government consistently denied their right to use their
language in school. The government disproportionately targeted minority groups,
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including Kurds, Arabs, Azeris, and Baluchis, for arbitrary arrest, prolonged
detention, and physical abuse (see also section 1.e., Political Prisoners and
Detainees). These groups reported political and economic discrimination,
particularly in their access to economic aid, business licenses, university
admissions, permission to publish books, and housing and land rights. The
government blamed foreign entities, including a number of governments, for
instigating some of the ethnic unrest.

There are between five and 11 million ethnic Kurds in the country, who have
frequently campaigned for greater regional autonomy. There were two terrorist
organizations inside the Kurdish province; however, they did not represent the
majority of the Kurdish population. Nevertheless, the government persecuted the
entire minority for criminal acts sponsored by the two organizations. According to
a 2009 HRW report, the government used security laws, media laws, and other
legislation to arrest and persecute Kurds solely for exercising their right to freedom
of expression and association. The government reportedly banned Kurdish-
language newspapers, journals, and books and punished publishers, journalists, and
writers for opposing and criticizing government policies. Although the Kurdish
language is not banned, schools did not teach it. Authorities suppressed legitimate
activities of Kurdish NGOs by denying them registration permits or bringing
spurious charges of security offenses against individuals working with such
organizations. Kurds were not allowed to register certain names for their children
in official registries.

There were several instances of Kurdish activists sentenced for political crimes
during the year. For example, on January 31, the Revolutionary Court in
Kermanshah sentenced Kaveh Ghassemi Kermanshahi, a journalist and human
rights activist, to five years in prison. Kermanshahi was an executive member of
the Kurdistan Human Rights Organization and the OMSC. He was also a member
of the student organization Daftar Tahkim Vahdat. The court charged
Kermanshahi with “acting against national security” and “propaganda against the
regime.” His lawyer described his long sentence as “unprecedented.”

In mid-June the Saqqez Revolutionary Court, in Kurdistan Province, found
Mohammad Moniri, a Kurdish teacher, guilty on charges of cooperating with
opposition groups and propaganda against the regime. The court originally
sentenced Moniri to five years in prison, but his sentence was reduced to six
months. Moniri entered prison on June 19.
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Foreign representatives of the Ahvazi Arabs of Khuzestan claimed their
community of two to four million in the country’s southwest encountered
oppression and discrimination, including torture and mistreatment of Ahvazi Arab
activists and the lack of freedom to study and speak Arabic.

On April 15, authorities violently oppressed a protest organized by ethnic Arabs in
the Khuzestan region. Security forces reportedly fired live rounds into the crowd.
It was estimated that a dozen demonstrators were killed and scores more injured.
The RSF reported that authorities arrested up to 97 protesters. The demonstrators
were commemorating the sixth anniversary of a 2005 demonstration that security
forces violently suppressed. The government insisted that the report was
fabricated. On the same day, a representative from the Ahvazi Organization for the
Defense of Human Rights, based in London, told HRW that, since April 15,
security forces had “killed 48 innocent protesters, injured tens, and arrested
hundreds of Ahvazis.” On April 18, Nobel Peace Prize laureate Shirin Ebadi wrote
a letter about the incident to the UN high commissioner for human rights.
According to Ebadi, hundreds of people in the city of Ahvaz had gathered for a
peaceful demonstration against the government’s discrimination towards its Sunni
minority. The country’s semiofficial news agency Fars reported that only one
person had been killed during the protests.

On May 11, according to an official report from the Khuzestan district attorney,
seven young Arabs had been executed in the preceeding days in the town of
Ahvaz. However, posts on Facebook reported that nine young Arab activists from
Ahvaz had been executed. Official sources claimed that those executed were
criminals dealing in drugs, although such claims often were leveled as justification
to execute political activists from the Arab minority. The Arab minority in Ahvaz
asked for the intervention of global human rights organizations.

Ethnic Azeris comprised approximately one-quarter of the country’s population,
were well integrated into government and society, and included the supreme leader
among their numbers. Nonetheless, Azeris complained that the government
discriminated against them, banning the Azeri language in schools, harassing Azeri
activists or organizers, and changing Azeri geographic names. Azeri groups also
claimed a number of Azeri political prisoners had been jailed for advocating
cultural and language rights for Azeris. The government charged several of them
with “revolting against the Islamic state.”

According to the ICHRI, during the six-month period from March 21 to September
21, more than 320 cultural, political, women’s rights, and human rights activists
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were arrested in the Azeri provinces. Most of these arrests concerned the protests
about the drying out of Lake Urmiya, one of the largest saltwater lakes in the
world. According to international media reports, protesters, who claimed that the
government did not act to save the lake partly due to its location in the minority
Azeri province, chanted, “Long live Azerbaijan,” and “Urmiya is thirsty /
Azerbaijan must rise up, otherwise it will lose.” As a result of these arrests, Azeri
activists were beaten, flogged, tortured, fined, and expelled from university.

Iran Green Voice announced that in late May that a Revolutionary Court sentenced
seven Azeri activists--Yunes Soleymani, Mahmmud Fazli, Naim Ahmmadi, Aydin
Khajehei, Sharam Radmehr, Yashar Karimi, and Hamideh Frajazade--to six
months in prison for membership in the Azeri Party’s Central Committee. A six-
month suspended sentence was given to activists Alireza Abdollahi, Behbud
Gholizade, and Akbar Azad, for a five-year probation period. Another activist,
Hassan Rahimi, was cleared on all counts after being held in solitary confinement
for four months.

Local and international human rights groups alleged serious economic, legal, and
cultural discrimination against the Baluch minority during the year. Baluch
journalists and human rights activists faced arbitrary arrest, physical abuse, and
unfair trials, often ending in execution.

On June 6, a revolutionary court in Baluchistan Province sentenced Sakhi Rigi to
20 years in prison on charges of “acting against national security” and “propaganda
against the regime,” based on his blogging and other Internet activities relating to
the government’s discriminatory treatment of the Baluch community.

Societal Abuses, Discrimination, and Acts of Violence Based on Sexual
Orientation and Gender Identity

The law criminalizes consensual same-sex sexual activity. A man can be put to
death for same-sex sexual acts if he is of legal age, of sound mind, and engaged of
his own free will. The Special Protection Division, a volunteer unit of the
judiciary, monitored and reported on “moral crimes,” including same-sex sexual
acts. According to a December 2010 HRW report, security forces used
discriminatory laws to harass, arrest, and detain individuals they suspected of being
gay. In some cases security forces raided houses and monitored Internet sites for
information on LGBT individuals. Those accused of sodomy often faced summary
trials, and evidentiary standards were not always met. The punishment of a non-
Muslim gay man or lesbian was harsher if the gay man or lesbian’s partner was
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Muslim. Punishment for same-sex sexual activity between men was more severe
than for such conduct between women.

During the year there was an increase in the frequency of charges of homosexuality
against individuals on death row or those executed. However, because such
persons were generally convicted on a number of different charges and because of
the lack of due process, it was unclear in most cases whether such charges of
homosexuality were the basis for the executions.

On September 4, authorities at Karoun prison in Ahvaz Province executed by
hanging three individuals convicted of sodomy. While the circumstances of the
case remained unclear at year’s end, the fact that they were executed on sodomy
charges alone, and not sodomy by coercion or rape, which was normally how
sodomy was charged, was significant. It was also the first case in many years in
which the only declared charge was sodomy and not combined with other criminal
acts, such as rape and armed robbery or national security crimes.

ICAS reported that two young men, Ayub and Mosleh, ages 20 and 21, were in
danger of execution by stoning in the city of Piranshahr in the province of
Kurdistan. The group said the men filmed themselves engaging in same-sex sexual
activity in a video that included pictures of President Ahmadinejad and that
government officials discovered that video. Their whereabouts at the end of the
year remained unknown.

According to a June 10 IHRDC report, in 2007 authorities in Isfahan arrested
Matin Yar (a pseudonym) at age 19, along with several of his friends, for
homosexual activity. Yar described officials repeatedly beating and torturing him
during his detention, including hanging him upside down on a metal rod and using
batons, whips, and electric shock. Yar stated his nose and ribs were broken as a
result of the beatings. During a second period of detention, Yar said he was
subjected to mock executions at Isfahan on three or four different occasions. After
sentencing, Yar was sent to Dastgerd Prison, where he claimed prison authorities
raped him several times.

The government censored all materials related to LGBT issues. In September
President Ahmadinejad called same-sex sexual activity a “despicable act…that is
dirty and harmful to humanity.” In January he was quoted as stating,
“Homosexuality means the divorce of humanity from its integrity.” During his
official response to the UNHRC, President Ahmadinejad categorically refused to
answer all six questions regarding the LGBT situation in his country, stating only
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that the LGBT issue is “beyond the mandate of the International Covenant on Civil
and Political Rights.” The supreme leader referred to same-sex sexual conduct as a
“shameful act.”

The law defines transgender persons as mentally ill, encouraging them to seek
medical help in the form of gender-reassignment surgery. The government
provided grants of as much as 4.5 million toman ($4,500) and loans of as much as
5.5 million toman ($5,500) for transgender persons willing to undergo gender
reassignment surgery. Human rights activists and NGOs reported that some
members of the gay and bisexual community were pressured to undergo gender
reassignment surgery to avoid legal and social consequences in the country.

The size of the LGBT community was unknown, as many individuals feared
identifying themselves. There were active LGBT NGOs in the country, but most
activities to support the LGBT community took place outside the country.
According to a HRW report, family members threatened and abused many young
gay men, who also faced harassment from religious scholars, schools, and
community elders. Some persons were expelled from university for allegations of
same-sex sexual activity. The HRW report also alleged that Basij forces attempted
to entrap or arrest persons engaged in same-sex sexual conduct.

Other Societal Violence or Discrimination

Persons with HIV/AIDS reportedly faced discrimination in schools and
workplaces.

Section 7. Worker Rights

a. Freedom of Association and the Right to Collective Bargaining

The constitution provides for freedom of association, but neither the constitution
nor the labor code guarantee trade union rights. The labor code states workers may
establish an Islamic labor council or a guild at any workplace, but the rights and
responsibilities of these organizations fall significantly short of international
standards for trade unions. In workplaces where an Islamic labor council has been
established, no other form of worker representation is permitted. The law requires
prior authorization for organizing and concluding collective agreements, and it
does not provide for the right to strike. Strikes are prohibited in the public sector.
Private sector workers may conduct “peaceful” campaigns within the workplace.
The labor code does not apply to establishments with fewer than five employees.
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Freedom of association and the right to collective bargaining were not respected in
practice. The government severely restricted freedom of association and interfered
in worker attempts to organize. The government and the judiciary imprisoned and
aimed to silence labor activists.

The Interior Ministry, Ministry of Labor, and Islamic Information Organization
determined labor councils’ constitutions, operational rules, and election
procedures. Workers’ House remained the only officially authorized national labor
organization; it served primarily as a conduit for government control over workers.
The leadership of Workers’ House oversaw and coordinated activities with Islamic
labor councils in industrial, agricultural, and service organizations comprising
more than 35 employees. During the year the government pressured workers to
join the government-sponsored councils. According to the ICHRI, the labor
councils, which consisted of representatives of workers and a representative of
management, were essentially management-run unions that undermined workers’
efforts to maintain independent unions. However, the councils were able to block
layoffs and dismissals. Human rights organizations reported employers routinely
fired labor activists for trade union activities. There was no representative
workers’ organization for workers who are noncitizens.

According to international media reports, security forces continued to respond with
arbitrary arrests and violence to workers’ attempts to organize or conduct strikes.
Strikes and worker protests often prompted a heavy police response, and security
forces routinely monitored major worksites. On February 7, taxi drivers in the
northern city of Babol went on strike to protest low fares set by the government.
Although security and intelligence forces appeared at the protest site, the workers
persisted with their strike. At the end of the four-hour protest, the ICHRI reported
that police temporarily detained and interrogated a number of workers.

On June 10, AI released a detailed report that underscored the harsh treatment of
independent trade union activists speaking out against the oppression of trade
unions in the country. On October 17, the Iranian Independent Workers Union
announced that security forces arrested Ayat Niafar, the spokesperson for the
Follow-up Committee to Form Workers Organizations, also known as the
Committee to Pursue the Establishment of Trade Unions, at a metro stop in Tehran
and took him to Evin Prison, where he remained at year’s end.

There were developments in several cases from previous years. According to
Education International, of which the Iranian Teachers Trade Association (ITTA)
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is an affiliate, and other sources, government authorities prevented the ITTA from
holding meetings and continued to harass and detain its members. On January 12,
a court confirmed the six-year sentence of ITTA board member Rasoul Bodaghi
for “assembly and conspiracy with the intent of committing national security
crimes and antiregime propaganda.” On May 22, Bodaghi and several other
political prisoners began a hunger strike to protest their treatment. Five days after
he began the hunger strike, he was transferred to solitary confinement. At year’s
end he remained in prison.

In April a revolutionary court summoned several members of the ITTA for
questioning. The head of the Mashad branch, Hashem Khastar, was not released at
the end of his two-year prison term for union activities. Instead, as his family and
friends waited for him at the prison gates on July 26, they learned that authorities
had brought him back to court and tried him on the new charge of “creating public
anxiety,” according to the ICHRI. Many of the association’s leaders and
prominent members--including secretaries general Alireza Hashemi and Ali Akbar
Baghani, Tehran spokesperson Mahmoud Beheshti-Langaroudi, Tehran branch
member Mahmoud Bagheri, and Kurdistan branch member Mokhtar Asadi--
remained in prison during the year on charges of “propaganda against the regime”
for activities they had planned on International Workers’ Day in May 2010. All of
the imprisoned spent time in solitary confinement. They were awaiting a court
hearing at year’s end.

On June 2, authorities released bus-driver syndicate leader Mansour Ossanloo on a
prison furlough, which was extended. At year’s end he remained out on furlough
and could be called back to jail at any time. He was originally sentenced in 2007
for trade union activities. According to international media, several other
transportation unionists remained in prison for trade union activities, including
Mansour Ossanloo’s brother, Afshin Ossanloo, who was arrested by plainclothes
officers in January at Tehran’s southern bus terminal, and Reza Shahabi. Shahabi
went on hunger strike several times during the year and was hospitalized more than
once. Another bus syndicate leader, Ebrahim Mahadi, had been imprisoned since
2008 but was freed December 1 only to be rearrested and sent back to prison on
December 7.

On November 12, Ali Nejati, a board member of the Haft Tapeh Sugar Cane
Workers’ Syndicate, began a one-year sentence in Dezful prison for his trade union
activities. He had already served six months in 2010 on the same charges and had
been dismissed from work.
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b. Prohibition of Forced or Compulsory Labor

The labor code prohibits all forms of forced or compulsory labor. However, such
practices occurred in the construction and agricultural sectors, primarily among
Afghan adult males. Family members and others forced children to work.

See also the Department of State’s Trafficking in Persons Report at
www.state.gov/j/tip.

c. Prohibition of Child Labor and Minimum Age for Employment

The law prohibits employment of minors younger than 15 and places restrictions
on employment of minors younger than 18, such as prohibitions on hard labor or
night work; however, the law permits children to work in agriculture, domestic
service, and some small businesses from the age of 12. The government did not
adequately monitor or enforce laws pertaining to child labor, and child labor was a
serious problem.

According to government sources, 600,000 children worked in the country during
the year. Approximately 360,000 children between the ages of 10 and 14 worked
full time and another 380,000 children worked in seasonal employment. Family
poverty, insufficient economic growth, and uneven distribution of wealth were the
sources of the problem, according to government news reports. There were
reportedly significant numbers of children--primarily Afghan, but also Iranian--
working as street vendors in major urban areas. Traffickers also exploited children
for involuntary servitude as beggars and laborers.

Also see the Department of Labor’s Findings on the Worst Forms of Child Labor
at www.dol.gov/ilab/programs/ocft/tda.htm.

d. Acceptable Conditions of Work

In March the government increased the minimum wage to 303,048 toman
(approximately $303) per month. According to a May report, the nationwide
average income level below which a family with 3.7 members was considered to
be living in poverty was 653,000 toman ($653) a month. In Tehran the poverty
income level was 813,000 toman ($813) a month.

The law establishes a maximum six-day, 48-hour workweek with a weekly rest day
(normally Friday), at least 12 days of paid annual leave, and several paid public
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holidays. Any hours worked above this entitles a worker to overtime. The law
mandates a payment of 40 percent above the hourly wage to employees for any
accrued overtime. Employees must consent to work the overtime; it is not
compulsory under the law. However, the law does not fully cover workers in
workplaces with fewer than 10 workers, nor does it apply at all to those in
workplaces with fewer than five workers, to noncitizens, or to any workers in
export processing zones. Afghan workers, especially those working illegally, were
subject to abusive working conditions, including below minimum wage
remuneration, nonpayment of wages, and compulsory overtime. Such informal
employment was common in construction, agriculture, transportation, retail, and
the textile industry.

According to the International Alliance in Support of Workers in Iran,
approximately 80 percent of workers employed by public and private companies
were on temporary contracts, including teachers. Workers on temporary contracts
can be dismissed at any time without reason. Low wages and the lack of job
security due to contracting practices continued to be major drivers of worker
strikes and protests, notably in the oil and petrochemical industry.

Information about labor inspection and labor law enforcement was difficult to
obtain. While the law provides for occupational health and safety standards, these
did not appear to be effectively enforced, and workers were excluded from the
process. Industrial accidents were commonplace, and the government did not
appear to conduct investigations into them. On November 15, the Iranian
Workers’ Solidarity Network, citing ISNA official figures, reported 778 workplace
deaths during the first six months of the year. Labor organizations inside and
outside the country alleged that hazardous work environments resulted in
thousands of worker deaths annually. It was unknown whether workers could
remove themselves from hazardous situations without risking the loss of
employment.

On December 11, an explosion at the Ghadir steel smelter in the city of Yazd killed
16 workers, including foreign nationals, and injured at least three others. The blast
reportedly was caused by ammunition in a delivery of scrap metal. On May 24, a
massive explosion and fire at a new oil refinery in Abadan killed and injured an
unknown number of workers.
